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                   APPENDIX 4
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                            MANAGEMENT SERVICES AGREEMENT


      This Management Services Agreement (this 'Agreement") is made this 9_th day of
September 2011, by and between:


       BLOOMBERRY RESORTS AND HOTELS INC. (formerly known as "Bioombury
       Investments Holdings, Inc.), a corporation organized and existing under the laws
       of the Republic of the Philippines with address at Unit 601, 6'h Floor Ecoplaza
       Building, Pasong Tamo Extension, Makati City, Philippines (the "Casino Owner"),
       and


       SURESTE PROPERTIES, INC., a corporation organized and existing under the
       laws of the Republic of the Philippines with address at 26th Floor, 139 Corporate
       Center Building, Valero Street, Salcedo Village, Makati City, Philippines (the
       "Hotel Owner"), and


       (The Casino Owner and the Hotel Owner are collectively referred to herein as
       uowners").



       GLOBAL GAMING PHILIPPINES LLC, , a limited liability company organized
       and existing under the laws of the State of Delaware, U.S.A., with address at c/o
       Global Gaming Management LP. 3575 West Post Road, Las Vegas, Nevada,
       U.SA ( "GGAM").


                                          RECITALS

        A      Casino Owner has a Provisional License issued by the Philippine Amusement
and Gaming Corporation ("PAGCOR") to develop, construct and operate a world class
integrated casino hotel entertainment facilities (the "Facilities" or "Project") at PAGCOR's
Bagong Nayong Pilipino Entertainment City Manila located at the Manila Bay reclamation area
in Paraiiaque City, Metro Manila, Philippines, and Casino Owner has enlisted its parent
company, the Hotel Owner to own the hotel and non-gaming component of the Facilities. But for
purposes of this Agreement the casino and hotel shall be operated as one integrated business.

       B.      GGAM, together with its affiliates, is knowledgeable and experienced in
developing, operating, managing, directing, and supervising world-class resorts, hotels, casinos
and other related facilities.

         C.    The parties agree for the Owners' to engage GGAM for management and
technical services in the development and construction, and to manage the operation of the
Facilities.




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        D.      Pursuant to the terms of this Agreement, GGAM shall provide the Services as
stipulated in Annex A.


       1.     TERM

              1.1    Effectiveness

                     This Agreement shall be effective as from the date of its execution
                     ("Effective Date").

              1.2    Initial Term

                     The Initial Term shall be for a period of five (5) years from the date
                     Commercial Operations of the Facilities start ("Start Date"). "Commercial
                     Operations" means the date upon which all portions of the Phase 1
                     Facilities now under constructior1, including those set forth in Clause 3,
                     are in complete and lawful operation and generating revenue. The
                     Owners and GGAM may agree on an earlier Start Date if PAGCOR
                     allows the operation of the gaming facilities even if some parts of the
                     Facilities are not yet complete. In such case, all reference to "Start Date"
                     in this Agreement shall refer to such earlier agreed Start Dale.

              1.3    Extension

                     No earlier than the fourth anniversary of the Start Date and no later than
                     three (3) mor1ths from the fifth anniversary of the Start Date, GGAM may
                     give notice to the Owners (ar1 "Extension Notice") that it wishes to
                     continue the performance of the Services for a subsequent period (a
                     "Subsequent Term") of five (5) years, under the same terms and
                     conditions. This Agreement shall then be deemed extended for the
                     Subsequent Tenm of five {5) years.

              1.4    Further Extension

                     The terms of this Agreement may be extended for further Subsequent
                     Terms under such terms and conditions as the parties may agree. The
                     parties shall negotiate in good faith on the terms and conditions of such
                     Subsequent Term within one year from the expiration of the then expiring
                     term.


       2.     OBLIGATIONS OF GGAM

              2.1    Appointment

                     The Owners hereby appoint GGAM to perform the Services for the
                     Facilities upon the terms and conditions of this Agreement, and GGAM
                     hereby accepts the appointment.



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        2.2   Services

              GGAM shall carry out the Services enumerated in Annex A upon the
              terms and conditions contained in this Agreement. The Services shall
              constitute as rights as well as responsibilities of GGAM under his
              Agreement. GGAM's obligation to provide the Services shall be subject
              to: (A) Owners' funding of the amounts set forth in the Annual Budget for
              each fiscal year as provided in this Agreement, and (B) equitable
              adjustment in the event of any Force Majeure, change in law, or change
              in the provisior1s of the PAGCOR License. If the Owners disapprove of
              any Proposed Annual Budget prepared by GGAM with expenditure levels
              reasonably required in order to provide the Services and GGAM can
              reasonably demonstrate that the Owners' refusal to approve such
              Proposed Annual Budget will have an adverse effect on GGAM's ability to
              provide the Services, then GGAM will not be in breach of the performance
              of the particular Services that is so adversely affected by such
              disapproval.

        2.3   Reserved Matters

              GGAM has no right to represent or bind the Owr1ers with respect to any of
              the Reserved Matters. However, the Owr1ers shall consult GGAM before
              they make any decision on Reserved Matters. The Reserved Matters are
              set out in Annex C.

        2.4   Management Team

              (a)    GGAM shall perform its Services through the Management Team
                     composed of the officers that GGAM will nominate, and the other
                     department heads and officers and personnel who report to and
                     are under the direction of the COO, under the organizational chart
                     attached as Annex D (the "Organizational Chart").

              (b)    GGAM shall have the sole discretion to nominate the officers in
                     circular boxes appearing in the Organizational Chart, subject to
                     the Owners consent required in Clause 7. GGAM may replace its
                     nominees in the organization subject only to the same consent
                     process applied to Key Personnel as provided in Clause 2.4(d)
                     below.

              (c)    GGAM shall define the functions of all offices/ positions identified
                     in the Organizational Chart whether in circular or rectangular
                     boxes). The definition of functions and the appointment of officers
                     in the Organizational Chart shall be subject to approval of the
                     Board, which approval shall not be delayed or withheld
                     unreasonably.

              (d)    The personnel and functions designated "*" in Annex D are "Key
                     Personnel". No member of the Key Personnel may be removed
                     from the performance of the Services without the Owners' prior
                     written consent (which shall not be unreasonably withheld or

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                    delayed, and shall not be required when such Key Personnel dies,
                    retires, resigns, is incapacitated or loses eligibility to work in the
                    Philippines). Provided further that GGAM, acting through the
                    Management Team, shall have the right, without the prior consent
                    of the Owners but upon written notice thereto, to terminate any
                    Key Personnel for cause.

              (e)    If the Owners reasonably object for cause to the manner in which
                     any member of GGAM's nominated officers (including Key
                     Personnel) performs the Services, the Owners may request that
                     the officer be replaced and in such event, GGAM shall promptly
                     propose and provide an alternative replacement officer and all
                     costs of effecting such replacement officer shall be the expense
                     of the Owner_

              (f)    GGAM shall designate the COO as its Management Team leader
                     who shall have full responsibility to represent GGAM in all matters
                     connected with the performance of this Agreement.

        2.5   Standard of Care

              GGAM warrants and undertakes that, in performing the Services through
              the Management Team, it shall use commercially reasonable efforts to
              comply with the following which shall be collectively referred to as the
              "Standard of Care":

              (a)     it shall exercise all the skill and care reasonably to be expected of
                     a professionally qualified and competent manager of casino and
                     hotel facilities experienced in performing work of similar nature
                     and scope as the Services ("Prudent industry Practice"),

              (b)    it acts in the highest standards of business ethics;

              (c)    it will at all times act in the best interests of the shareholders of
                     the Casino Owner and the Hotel Owner, and to maximize such
                     shareholders' value in the performance of its obligation under this
                     Agreement and in all dealings carried out by it in its capacity under
                     this Agreement; and

              (d)    it shall comply with applicable Philippine law in the performance of
                     the Services under this Agreement.

              Provided that GGAM's obligation to meet the Standard of Care set forth in
              this Clause 2.5 shall be subject to: (A) Owners' funding of the amounts
              set forth in the Annual Budget for each operating year and as provided in
              this Agreement, and (B) equitable adjustment in the event of any Force
              Majeure, change in law, or change in the provisions of the PAGCOR
              License. If the Owners disapprove of any Proposed Annual Budget
              prepared by GGAM with expenditure levels reasonably required in order
              to comply with this Clause 2.5 and GGAM can reasonably demonstrate
              that the Owners' refusal to approve such Proposed Annual Budget will

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              have an adverse effect on GGAM's ability to comply with this Clause 2.5,
              then GGAM will not be in breach of the provision of this Clause 2.5 that is
              so adversely affected by such disapproval.


        2.6   Specific Obligations

              (a)    GGAM and the COO shall comply with the instructions and
                     directions in relation to the Services and/or this Agreement issued
                     to them by the CEO or his authorized representative, except if
                     such instructions and directions, or the compliance with such
                     instructions or directions, would violate Applicable Law. If GGAM
                     can reasonably demonstrate that GGAM and COO's compliance
                     with the instructions and directions of the CEO under this
                     provision will have an adverse effect on GGAM's ability to comply
                     with the Standard of Care, then GGAM will not be in breach of the
                     particular Standard of Care that is so adversely affected by the
                     CEO's instruction and directions, and GGAM shall be entitled to
                     equitable adjustment.

              (b)    The Owners shall provide GGAM with copies of the PAGCOR
                     License, the PAGCOR Lease Agreement, the                     BOO Loan
                     (collectively "Project Agreements") and of the Owner's insurances.
                     GGAM and the Management Team shall be fully aware of the
                     contents and import of specific provisions that Owners shall
                     identify to GGAM of such agreements. GGAM acting through the
                     Management Team shall comply with the obligations of the
                     Owners under those specific provisions identified under the
                     Project Agreements. And GGAM shall not be held liable for
                     complying with the obligations of the Owners under the Project
                     Agreements pursuant to this provision. The Owners shall send
                     prompt notice to GGAM if there is any change in a Project
                     Agreement. The Owners shall consult with GGAM before they
                     agree on any changes in a Project Agreement which conflict with
                     this Agreement or adversely affect GGAM's rights under this
                     Agreement. If there is any conflict or inconsistency between the
                     provisions of this Agreement and those of the Project Agreements,
                     GGAM shall so notify the Owners in writing when it becomes
                     aware of such conflict, and it shall not be liable if it is not aware of
                     such conflict The Owners (i) represent and warrant (a) that,
                     individually and/or collectively, the Owners have conducted due
                     diligence with regard to all matters arising from or related to the
                     Project Agreements and (b) that the obligations of the Owners
                     under the Project Agreements are not in conflict, inconsistent, or
                     out of compliance with this Agreement or any agreement
                     contemplated thereunder; and (ii) covenant that the Owners
                     obligations under the Project Agreements will not be in conflict,
                     inconsistent, or out of compliance with this Agreement or any
                     agreement contemplated thereunder.



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        2.7   Conflict of Interest

              GGAM shall not engage in any activity involving a hotel or casino within
              the Philippines, which might conflict with the interest of the Owners under
              the Project Agreements. For the avoidance of doubt, neither Cantor
              Fitzgerald, LP., a Delaware limited partnership, nor any Affiliate of Cantor
              Fitzgerald, LP. (excluding GGAM and Global Gaming Management l.P.)
              shall be subject to this Clause 2. 7.

        2.8   Books and Records

              GGAM acting through the Management Team shall see to it that up-to-
              date, accurate and systematic books and records of the business of the
              Facilities and the Services are maintained in accordance with Applicable
              Accounting Standards, and in such form and detail as is required under
              Prudent Industry Practice or as otherwise reasonably required by the
              Owners. GGAM acting through the Management Team shall establish an
              accounting system, internal controls and reporting systems that are (i)
              consistent in all material respects with customary policies and procedures
              used by GGAM or its affiliates engaged in such business and (ii) in
              compliance with the Applicable Law including all applicable gaming laws,
              and approved by the Owners, which approval shall not be unreasonably
              withheld or delayed.

        2.9   Reporting

              (a)    GGAM acting through the Management Team shall submit to the
                     Owners monthly before the 10th day of the month (or more
                     frequent, if required by the Owners) unaudited, internal financial
                     performance reports relating to the status of the performance of
                     the Services, including a profit and loss statement showing the
                     results of the operation of the Facilities for the preceding month
                     and the year to date, and containing computations of Facilities
                     Revenue, Operating Expenses, EBlTDA, and all GGAM Fees,
                     costs, charges, and expenses payable or reimbursable to GGAM
                     pursuant to this Agreement, and compliance with the Business
                     Plan, Annual Budget, and the Performance Standards. The figures
                     contained in such monthly report shall be taken from the books of
                     account of the Facilities maintained in accordance with Clause
                     2.8.

              (b)    GGAM, acting through the Management Team, shall submit to
                     Owners, before the date one hundred five (105) days after the end
                     of each operating year, with the exception of the last operating
                     year of the Initial Term (or any Subsequent Term), a profit and
                     loss statement certified by an independent auditor and based
                     upon the books of account of the Facilities, which statement shall
                     show the results of the operation of the Facilities during the
                     preceding operating year and shall contain a computation of the
                     Facilities Revenue, Operating Expenses, EBITDA, the GGAM
                     Fees, and/or any accounting for reimbursable expenses, interest,

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                     or currency matters under this Agreement ("Audited Year End
                     Financial Statements").     The cost of the audit shall be an
                     Operating Expense. The independent auditor shall be
                     recommended by GGAM in consultation with the Owners, and
                     appointed by the stockholders of the Owners. The independent
                     auditor shall be from an internationally reputable accounting firm
                     with a correspondent firm in the Philippines with adequate
                     experience in auditing international gaming companies.


        2.10   Budget

               (a)   GGAM acting through the Management Team shall prepare the
                     Annual Budget which shall include (i) the replacements of and
                     additions to FF&E and Operating Supplies to be made as part of
                     the Services; (ii) a proposed budget of capital expenditures; and
                     (iii) a budget of the estimated Facilities Revenue and Projected
                     EBITDA and a Projected Base Fee EBITDA for the Facilities for
                     the following Fiscal Year, all in reasonable detail ("Proposed
                     Annual Budget"), Business Plan, and marketing plans            for
                     discussion with the Owners and approval by the Board.

               (b)   The Proposed Annual Budget shall be delivered by GGAM acting
                     through the Management Team to Owners for approval not later
                     than 60 days before the commencement of the affected Fiscal
                     Year. The Owners shall have 30 days from Owners receipt of the
                     Proposed Annual Budget to either (A) approve it, in which case
                     the Proposed Annual Budget shall be deemed to be the "Annual
                     Budget" for the Fiscal Year to which it relates; or (B) disapprove
                     the Proposed Annual Budget by written notice to GGAM, stating
                     the specific reasons for its rejection of all or part of the Proposed
                     Annual Budget. If the Owners fail to either approve or disapprove
                     the Proposed Annual Budget within such 30 days period, the
                     Proposed Annual Budget shall be deemed to be approved by the
                     Owners.

               (c)   If the Owners and GGAM cannot reach agreement with respect to
                     a Proposed Annual Budget (or any specific element thereof), then
                     the operation of the Facilities shall continue based upon the last
                     Annual Budget (increased by the percentage increase in ROPCPI,
                     not to exceed five percent (5%)) in effect until a new Proposed
                     Annual Budget has been approved by the Owners, modified to
                     reflect those elements of the Proposed Annual Budget that have
                     been approved or deemed approved.

               (d)   If the Parties are unable to arrive at an Annual Budget by February
                     15 of any Fiscal Year, then any dispute shall be resolved pursuant
                     to Annex I. Each Party shall have the opportunity to submit its
                     final proposal as to the element(s} in dispute to the Expert, who
                     shall be limited to accepting that proposal which the Expert
                     reasonably determines most accurately reflects a reasonable and

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                      achievable EBITDA expectation for the Facilities, with due
                      consideration given to then current market conditions. The
                      Proposed Annual Budget with the disputed elements as resolved
                      by the Expert, shall be deemed the approved Annual Budget

               (e)    GGAM acting through the Management Team may incur costs or
                      expenses or make expenditures which exceeds or are not in the
                      Annual Budget, provided the consent of the CEO or his
                      representative is obtained, and the Annual Budget shall be
                      amended if necessary, subject to the approval of the Owners Any
                      dispute on the proposed amendment to the Annual Budget shall
                      be resolved pursuant to Annex I. Provided, however, GGAM
                      acting through the Management Team shall have the right to incur
                      costs or expenses or make expenditures for {i) cost or expenses
                      {excluding junket commission and credit) reasonably determined
                      by GGAM to maximize EBITDA during the Fiscal Year; (ii) any
                      ur1control!able expenses such as utilities, insurance, and taxes
                      which are deemed increased to the actual cost level incurred; (iii)
                      any expenditures reasonably required on an emergency basis to
                      avoid or mitigate damage to the Facilities or injury to persons or
                      property; (iv) amounts required to extend complimentaries to
                      patrons at the Facilities; (v) amounts set forth in the Annual
                      Budget which are calculated based on projected occupancy rate
                      or Projected EBITDA or projected Facilities Revenue to the extent
                      such amounts increase {or decrease) proportionately to the extent
                      the actual occupancy rate of the Facilities and/or revenue for the
                      Fiscal Year exceeds or falls below the projected occupancy or
                      Projected EBITDA or projected Facilities Revenue; provided that
                      the permitted variance set forth above shall not exceed 7.5% of
                      the budgeted amount, and provided further that GGAM shall
                      provide the Owners with prompt written notice of any anticipated
                      expenditures in excess of what is in the Annual Budget and the
                      permitted variance set forth above.         ·


        2.11   Entitlement of GGAM to Ensure Compliance

               GGAM shall be entitled to take, and the Owners shall not prevent GGAM
               from taking, such measures as are necessary and appropriate, as
               permitted under Applicable Law, to ensure that the Facilities are operated
               in accordance with, and will not cause GGAM or its Affiliates to fail to be
               in compliance with (i) applicable financial recordkeeping and reporting
               requirements and the money laundering statutes and the rules and
               regulations thereunder and any related or similar rules, regulations, or
               guidelines, issued, administered, or enforced by any governmental
               agency (ii) Sanctions Laws and Regulations, and (iii) the United States
               Foreign Corrupt Practices Act of 1977, as amended, as well as all other
               applicable anti-corruption laws of other relevant jurisdictions.




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   3.    OBLIGATIONS OF THE OWNERS

         3.1   Facilities

               The Owners shall, at their own cost, develop, construct, fit out and
               complete the Facilities in accordance with the plans and specifications
               prepared by Steelman Partners LLP (excluding the Phase 1-B Facilities),
               which shall include the following:

               a)     A world class casino (to include appropriate junket resort operator
                      rooms and facilities) with gaming tables, slot machines and any
                      other permitted form of gambling or games;

               b)     A world Class hotel with suites;

               c)      Restaura11ts, bars, lounges;

               d)      Spa, health club, pool(s);

               e)      On-site retail shops and shopping areas;

               f)      Meeting space/facilities;

               g)      Other amenities.

               Owners shall, at their own cost and as soon as possible, rectify (or cause
               to be rectified) any construction-related or FF&E deficiencies identified by
               GGAM.

         3.2   Licenses and Permits

               The Owners shall obtain a11d shall use its commercially reasonable efforts
               to mai11tain all governmental licenses, permits and approvals required to
               own, construct and operate the Facilities. The Owners shall help the
               Management Team liaise and maintain good relationship with PAGCOR
               and other relevant government agencies.

         3.3   Utilities

               The Owners shall obtain and arra11ge for all utility services necessary for
               the operation of the Facilities.

         3.4   Payment

               The Owners shall pay the GGAM Fees in accordance with Clause 4. The
               obligations of the Owners to pay the GGAM Fees shall be joint and
               several.




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         3.5    Working Capital

                The Owners shall ensure that there is sufficient working capital (including
                casino bankroll) as budgeted or as needed, construction and capital
                expenditures, reserve funds, etc. to operate the Facilities in accordance
                with the Business Plan and Annual Budget.

         3.6    Insurance

                The Owners shall take out all necessary insurance for the operation of the
                Facilities; obtain all usual and customary policies for projects of this type
                and magnitude (including, among other things, business interruption,
                sabotage and terrorism, crime insurances, including fidelity, earthquake,
                tsunami, flood and other natural calamities, and all standard insurable
                risks as required under the PAGCOR License). The Owners agree to
                restore or rebuild the damage or loss to the Facilities in the event of any
                casualty caused by an insured event (to the extent of the insurance
                proceeds).

         3.7    Assistance

                The Owners shall provide all assistance to enable the nominees of
                GGAM to obtain the visas and work permits necessary for them to work in
                the Facilities in the Philippines.

          3.8   Actions of the Board

                Under this Agreement, all actions of the Board of Directors shall be
                considered as actions of the Owners. Where actions of the Owners
                require formal Board approval, the Owners shall be responsible to obtain
                such Board approval.

          3.9   Actions of the CEO

                Under this Agreement, all actions of the CEO (or his authorized
                representative) shall be considered as actions of the Owners. Where
                actions of the CEO require formal Board approval, the Owners shall be
                responsible to obtain such Board approval.


   4.    SERVICE FEES

         4.1    Fees - Development

                The Owners shall pay GGAM a planning, oversight, and development
                base fee of One Hundred Thousand U.S. Dollars ($100,000) per month,
                without reduction or pro ration in such fee for a partial month,
                commencing upon execution of the Agreement and terminating upon the
                issuance of a permanent certificate of occupancy for the Phase I
                Facilities.


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               The Owners shall pay GGAM such fees as the parties may mutually
               agree for providing planning, oversight and development services for the
               Phase I"A and Phase 1-B Facilities.

         4.2   Fees -Pre-Opening

               The Owners shall pay Seventy-Five Thousand U.S. Dollars ($75,000) per
               month to GGAM for Pre-Opening Operations upon execution of the
               Agreement and terminating upon the Start Date.

         4.3   Fees - Base Fee

               The Owners shall pay GGAM an annual base fee of two percent (2.0%) of
               the Base Fee EBITDA from the Facilities. For this purpose, "Base Fee
               EBITDA" shall mean an amount equal to the EBITDA less the Local VIP
               EBITDA and Foreign VIP EBITDA.

         4.4   Fees -Casino Local VIP Base

               The Owners shall pay GGAM an annual fee of six percent (6.0%) of the
               EBITDA generated from Local High Roller Tables where PAGCOR
               imposes a 15% license fee under the PAGCOR License, or as that term
               is defined in the laws or regulations governing the Facilities ("Local VIP
               EBITDA").

         4.5   Fees -Casino VIP Incentive For Foreign VIP/Junket Players

               The Owners shall pay GGAM an annual casino incentive fee calculated
               as a Graduated Fee based on the EBITDA generated from Foreign High
               Roller Tables and Foreign Junket Players ("Foreign VIP EBITDA") as
               these terms are defined in the laws and regulations governing the
               Facilities for each Fiscal Year beginning in the year of the Facilities' Start
               Date, provided that GGAM's total fees shall not exceed forty percent
               (40%) on Foreign VIP EBITDA, as follows:

               Graduated Fee Schedule

                          6% of the first $10,000,000 in Foreign VIP EBITDA for the
                          Fiscal Year;
                          15% of the next $5,000,000 in Foreign VIP EBITDA for the
                          Fiscal Year;
                          25% of the next $5,000,000 in Foreign VIP EBITDA for the
                          Fiscal Year;
                          30% of the. next $5,000,000 in Foreign VIP EBITDA for the
                          Fiscal Year;
                          35% of the next $10,000,000 in Foreign VIP EBITDA for the
                          Fiscal Year;
                          40% of any arnount in excess of $35,000,000 of
                          Foreign VIP EBITDA for the Fiscal Year.



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                       The Foreign VIP Incentive Fees shall be paid pro rata monthly as
                       adjusted based on prior months' underpayments or overpayments
                       with an annual year end reconciliation.


         4.6    Payment of Fees

                All fees, costs, charges, and expenses payable or reimbursable to GGAM
                shall be due monthly upon delivery of an invoice by GGAM or its affiliates,
                and shall be paid to GGAM or its affiliate in available funds after a
                verification is made of such invoice and its supporting papers, at the
                location(s) specified by GGAM from time to time. GGAM may pay such
                fees and other amounts owed to GGAM or its affiliates directly from the
                Facilities operating accounts or reserve funds, in which case the Owners
                shall replenish the reserve funds in the amount of such withdrawal by
                GGAM within thirty (30) days after notice to the Owners. GGAM may
                require that any such payments be effected through electronic debit/credit
                transfer of funds programs specified by GGAM from time to time,
                provided GGAM shall pay such fees and costs and do such things as
                GGAM deems necessary or advisable to effect such transfers of funds
                and such method complies with Applicable Law.

                Taxes accruing on fees payable to GGAM shall be for the account of
                GGAM. Value Added Tax on the GGAM Fees shall be part of Operating
                Expenses. The fees payable to GGAM shall be structured in the most tax
                effective methodology.


         4. 7   Reimbursable Expenses

                The Owners shall reimburse GGAM for all reasonable and documented
                out-of-pocket expenses including travel expenses to and from the
                Facilities for GGAM's employees and consultants (and with prior written
                consent of the Owners, GGAM's Affiliates employees and consultants) for
                matters related to the Services provided under this Agreement that are
                not otherwise paid for by the Owners. The reimbursement shall be made
                after a verification of the details and supporting documents for such
                expenses.

         4.8    Interest

                If any fee or other amount due by the Owners to GGAM or its Affiliates or
                designees under the Agreement is not paid within thirty (30) days after
                such payment is due, the Owners shall pay, in addition to the amount
                due, interest for each day the amount is past due and compounded
                monthly, at the interest rate of 50 basis points per month or 6% per
                annum, or such rate to be agreed to by the Owners and GGAM.




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         4.9   Currency of Payment

               a)     The GGAM Fees payable: (i) pursuant to Clauses 4.1 and 4.2 shall
                       be paid in U.S. Dollars; (ii) pursuant to Clauses 4.3 and 4.4 shall
                       be paid in Philippine Pesos; and (iii) pursuant to Clause 4.5 shall
                       be paid in U.S. Dollar equivalent of such fees converted based on
                       the monthly/annual average exchange rate of Philippine Peso to
                       U.S. Dollar as published by the Philippine Dealing System (PDS).

               b)      The reimbursable costs and expenses payable to GGAM pursuant
                        to Clause 4.7 shall be billed and paid in U.S. Dollars irrespective
                        of the currency of the amount(s) so paid by GGAM. The basis of
                        conversion of these reimbursable costs and expenses paid in
                        other currencies by GGAM shall be the PDS closing rate in effect
                        as of that date of the individual transaction. The interest payable
                        pursuant to Clause 4.8 shall be paid in the currency of the
                        amount due to GGAM upon which the interest is charged.

               c)      If GGAM requests that its Philippine Pesos-based fees be paid in
                        U.S. Dollars, such amounts shall be based on the Philippine
                        Peso to U.S. Dollar conversion rate in effect as of the effective
                        date of such conversion and GGAM shall assume the market
                        conversion risk.


   5.    BANK ACCOUNTS

         5.1   Operating bank accounts for the Facilities shall be established in the name
                of the Owners in such banks as the Board may approve. The bank
                requirement for Revenue Accounts to be subject to security arrangements
                under the BDO Loan shall be respected. GGAM shall not be held liable
                for complying with any restrictions or arrangements required under the
                BOO Loan. Subject to the review and approval of the Owners, GGAM
                through the Management Team shall establish sufficient controls, to
               ensure accurate reporting of all transactions involving the bank accounts.
                All deposits and withdrawals shall be in accordance with this Agreement,
                the Approval Matrix, approved controls (which shall include the conditions
                provided under the BDO Loan, and the reportorial requirements of
                PAGCOR), GGAM standard accounting policies and practices approved
                by the Board. GGAM through the Management Team shall develop the
                Signing Authority Matrix and the Approval Matrix, which shall be subject
                to the approval of the CEO and the Board.

         5.2      As a rule, disbursements and transfer of funds from the Operating
               Accounts shall require two (2) signatures one from Group "A" and one
               from Group "B" signatories. There shall be two (2) groups of signatories
               for this purpose. Group "A" signatories shall be composed of officers
               nominated by GGAM. Group "B" signatories shall be composed of officers
               nominated by the Owners.



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         5.3   The Management Team shall only retain such funds in these Operating
                Accounts as are necessary to carry out its responsibilities under this
                Agreement for current and reasonably anticipated future operating,
                bankroll, gaming reserves, operating expenses, marketing, renovation,
                maintenance or capital expenditures, including any reserves for such
                purposes. GGAM acting through the Management Team shall sweep
                accounts on a monthly basis except for funds listed above, shall provide
                an accounting for Owners' review within three (3) Business Days after
                end of each month. And profits which are not retained in the Operating
                Accounts at the end of each month shall be transferred to the Owners
                Account which shall be under the sole control and disposition of the
                Owner.


   6.    MARKETING

         GGAM and the Management Team shall develop, implement and manage a
         marketing program for the Facilities, which may include utilization of brands,
         centralized services, affiliate programs, or other programs of GGAM, its affiliates,
         or third parties. The Guest Data of GGAM shall remain to be its property. The
         Guest Data generated from the operation of the Facilities shall be the property of
         the Owner and shall be used only for the Facilities. The Parties are free to use for
         their own separate purposes the data on patrons which appear in both the
         GGAM Guest Data and in the Facilities' Guest Data. With the Owners approval,
         not to be withheld or delayed unreasonably, GGAM shall be allowed to utilize the
         Owner owned patron or casino database for cross-marketing the Facilities with
         other integrated resort facilities.


  7.     PERSONNEL

         7.1   The Board following normal corporate procedure shall appoint all members
               of the Management Team indicated in the Organizational Chart, provided
               that (i) offices/positions in circular boxes shall be nominated solely by
               GGAM subject to the approval of Owner, which approval shall not be
               delayed or withheld unreasonably, and (ii) offices/positions in rectangular
               boxes shall be nominated by the Owners subject to approval of GGAM,
               which approval shall not be delayed or withheld unreasonably.

         7.2   All members of the Management Team shall be employees of the
               Facilities/Owners, except as otherwise mutually agreed to by the Parties.
               No employees of the Facilities shall be employees of GGAM, except as
               otherwise mutually agreed to by the Parties. The employees of the
               Facilities shall not be employees of GGAM, and GGAM shall not be liable
               for any acts or omissions of these employees.

         7.3   GGAM acting through the COO shall supervise, instruct and direct the
               members of the Management Team. And the members of the
               Management Team or other managers to whom they may delegate such
               authority in accordance with the Approval Matrix, shall recruit, screen,
               appoint, hire, pay, train, supervise, instruct, and direct all other personnel

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               necessary or advisable for the operation of the Facilities, and to discipline,
               transfer, relocate, replace, terminate, and dismiss any personnel in
               accordance with the approved management and personnel policies.
               Provided that up to certain level to be mutually agreed between the
               Owners and GGAM, the hiring, compensation, bonus, and promotion of
               certain officers shall be subject to approval of the CEO. The hiring,
               compensation, bonus, and promotion of the COO, chief financial officer,
               vice president of gaming, and vice president of marketing shall be (i)
               commensurate and competitive with market rates for the hiring,
               compensation, bonus, and promotion of similar gaming and hospitality
               industry positions in Southeast Asia and (ii) subject to approval of the CEO
               (which shall not be unreasonably withheld or delayed). The compensation
               and bonus of the CEO shall be commensurate and competitive with
               market rates for compensation and bonus of similar chief executive officers
               in the gaming and hospitality industry in Southeast Asia_

         7.4   GGAM acting through the COO or other members of the Management
               Team shall have the management discretion with respect to all personnel
               within their departments and offices, including decisions regarding hiring,
               promoting, transferring, compensating, supervising, terminating, directing,
               and training such personnel, and, generally, establishing and maintaining
               all policies relating to employment, including (a) the terms of employment,
               including recruiting, screening, appointing, hiring, compensation, bonuses,
               severance, pension plans, and other employee benefits, training,
               supervision, instructions, direction, discipline, transfer, relocation,
               replacement, termination, and dismissal of personnel, and (b) the exercise
               of any rights or remedies under any applicable laws relating to labor
               matters in relation to the Facilities and the personnel, including union
               organization, recognition and withdrawal of recognition, union elections,
               contract negotiation on single employer or multi-employer basis (including
               the right to negotiate and execute collective bargaining or similar
               agreements), grievances, unfair labor practice          charges, strike and
               lockouts.


   8.    USE OF FACILITIES BY PERSONNEL

         8.1   In accordance with reasonable policies and procedures to be agreed on
               between the Owners and GGAM, all senior executives of the Owners or
                any affiliate of the Owners that are visiting the Facilities for business
               purposes related to the Facilities shall be permitted to stay at the Facilities
                and use its facilities (including food and beverage consumption), without
                charge to such senior executives.

         8.2   In accordance with reasonable polices and procedures to be agreed on
               between the Owners and GGAM, all GGAM personnel (as well as GGAM's
               Affiliates personnel) who travel to the Facilities on an as-needed basis to
               perform Services (including to monitor provision of Services, or other bona
               fide business relating to this Agreement) shall be permitted to stay at the
                Facilities and use its facilities (including food and beverage consumption),
               without charge to GGAM or such corporate personnel.

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        8.3    All corporate personnel and other personnel of GGAM, the Owners or any
               of their respective affiliates shall be permitted to stay at the Facilities for
               business or non-business purposes at reduced rates in accordance with
               approved Management policies.


   9.    PURCHASING

         9.1   GGAM acting through the Management Team shall select manufacturers,
               wholesalers, vendors, suppliers, consultants, companies, or businesses,
               and negotiate and subject to the Approval Matrix and Signing Authortty
               Matrix, enter into, administer, amend, and terminate, in the name and on
               behalf of the Owners, all agreements, purchase orders, and similar
               arrangements for the purchase of all supplies and other needs to meet the
               day-to day of the Facilities businesses and operations. The Approval Matrix
               at"ld Signing Authority Matrix shall be subject to the approval of the CEO
               and the Board.

         9.2   Consistent with the Annual Budget, GGAM acting through the Management
               Team shall select manufacturers, wholesalers, vendors, suppliers,
               companies, or businesses, and negotiate, enter into, administer, amend,
               and terminate, in the name and on behalf of the Owners, all agreements,
               leases, purchase orders, and similar arrangements for (1) the purchase or
               lease of all furniture, fixtures, and equipment that Management Team
               deems necessary or advisable for the operation of the Facilities; (2)
               purchase, lease, or license, in the name of and on behalf of the Owners, all
               software, hardware, and telecommunications connections required (3)
               licenses for the right to use any third party proprietary property or (4) any
               other property, service or rights that Management Team otherwise deems
               necessary or advisable for the operation of the Facilities.

         9.3   GGAM acting through the Management Team may negotiate, enter into,
               administer, amend, and temninate, in the name and on behalf of the
               Owners, all (i) agreements, purchase orders, and similar arrangements for
               the purchase of all supplies and services, and (ii) licenses for the right to
               use any third party proprietary property, that Management Team deems
               necessary or advisable for the operation of the Facilities.

         9.4    GGAM shall avoid conflicts of interest in purchasing. Where the vendor or
                supplier is affiliated with GGAM, this fact shall be promptly disclosed and
                approval of the transaction shall require Owners' consent. The Owners will
                be presented with a plan to enter into a purchasing services agreement
                with Procurement International Ltd., a GGAM affiliated company, pursuant
                to which Procurement International Ltd., will propose to provide certain
                purchasing services to the Owners; provided that the Owners may use
                other sources for purchasing if the terms are more favorable to the Owners
                than those contained in the purchasing services agreement and
                Procurement International Ltd., cannot match such terms, and the
                alternative source is otherwise acceptable to the Owners.


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         9.5     The Owner acknowledges that GGAM's affiliate, Cantor G&W (Nevada)
                L.P. (doing business as Cantor Gaming) is an operator of mobile gaming,
                race books and sports pools, and its Affiliates own a proprietary mobile
                gaming system, a proprietary race book and sports pool wagering system.
                Subject to a permit/consent from PAGCOR, and the written approval of
                the Owners, GGAM may engage Cantor Gaming for the operation of
                Cantor Gaming's or its Affiliates' proprietary mobile gaming and race book
                or sports pool in the Facilities, provided that the terms and conditions of
                such engagement shall be commercially reasonable and arms length.


   10.   REPRESENTATIONS, WARRANTIES AND COVENANTS

         10.1    Owners

                 Owners jointly and severally represent, warrant, and covenant as of the
                 Effective Date that: (A) they are duly formed, validly existing, and in good
                 standing under the laws of the Republic of the Philippines; (B) they have
                 all the requisite rights, power, and authority to enter into this Agreement
                 and perform all their obligations hereunder; (C) this Agreement
                 constitutes the valid and legally binding obligation of Owners, enforceable
                 in accordance with its terms and conditions; (D) neither the execution of
                 this Agreement, nor Owner's performance of the transactions
                 contemplated hereby, will: (i) violate any constitution, statute, regulation,
                 rule, injunction, judgment, order, decree, ruling, charge, or other
                 restriction of any government, governmental agency, or court to which
                 Owners are subject, or (ii) conflict with, result in a breach of, or constitute
                 a default under any agreement to which any Owner is a party; (E) Owners
                 have the right and authority to grant the rights to GGAM as recited herein
                 necessary to perform under this Agreement; (F) Owners {i) directly holds
                 all rights, title, and interest in the Facilities and the PAGCOR license and
                 (ii) shall not transfer their rights, title, and interest without first notifying
                 GGAM; (G) the Facilities are being constructed on land under lease from
                 PAGCOR; (H) the Facilities being constructed are owned by the Owners
                 free from liens and encumbrances, except for the lien of BOO under the
                 BOO Loan; (I) the Casino Owner is the sole owner of the PAGCOR
                 License, it is not in default under the PAGCOR License, and it is not
                 aware of any threatened or possible default under the PAGCOR License,
                 except as disclosed in the Disclosure Letter; (J) the directors, officers and
                 stockholders of the Owners are listed in the Disclosure Letter; (K) the
                 Facilities shall be developed, constructed and maintained as a 5-star
                 international casino-hotel; (L) Owners have not engaged any broker,
                 investment banker, advisor, or any other party to act for the Owners in
                 this transaction where GGAM is liable for their fees; {M) there is no
                 litigation or proceedings pending or threatened against the Owners or the
                 Facilities that could adversely affect the validity of this Agreement or the
                 completion of the Project; (N) Owners have secured the Environmental
                 Compliance Certificate (ECC) and have complied with                   applicable
                 Philippine environmental laws for the construction and development of the
                 Facilities; (0) the Project Cost prepared by Davis Langdon and Seah
                 attached to the Disclosure Letter is the current best estimate of the

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                project cost for the Project and Owners have undertaken the required due
                diligence and care to accept and rely on said Project Cost; (P) the
                Owners corporate structure identifying all persons and entities controlling
                them is attached to the Disclosure Letter; (Q) the Owners have complied
                and shall comply with the requirements of the Philippine Anti-Money
                Laundering Laws in connection with this Project; (R ) the Owners have
                complied and shall comply with          Philippine Anti-Corruption Laws in
                connection with this Project; (S) to the best of Owners' knowledge after a
                reasonable inquiry, none of (i) the Owners, (ii) any person controlling
                either of them, and (iii) any person for whom either of them acts as an
                agent or nominee in connection with this Project, is as of the date of this
                Agreement a "specially designated national or blocked person" ("SON')
                under any United States sanctions administered by the Office of Foreign
                Assets Control of the United States Department of the Treasury ("OFAC")
                (including but not limited to 31 CFR, Subtitle B, Chapter V, as amended)
                or any enabling legislation or executive order relating thereto,
                (collectively, the "Sanctions Laws and Regulations"); and (T) the Owners
                (excluding any shareholders or indirect constituent owners) have not as of
                the date of this Agreement and shall not after execution of this Agreement
                conduct business (i) with any person who is an SDN, (ii) in any jurisdiction
                in which GGAM, as a United States person, would be prohibited from
                doing business under the Sanctions Laws and Regulations.


         10.2   GGAM

                GGAM represents and warrants as of the Effective Date that: (A) it is duly
                formed, validly existing, and in good standing under the laws of the State
                of Delaware; (B) it has all the requisite rights, power, and authority to
                enter into this Agreement and perform all its obligations hereunder; (C)
                this Agreement constitutes the valid and legally binding obligation of
                GGAM, enforceable in accordance with its terms and conditions; (D)
                neither the execution of this Agreement, nor GGAM's performance of the
                transactions contemplated hereby, will: (i) violate any constitution, statute,
                regulation, rule, injunction, judgment, order, decree, ruling, charge, or
                other restriction of any government, governmental agency, or court to
                which GGAM is subject, or (ii) conflict with, result in a breach of, or
                constitute a default under any agreement to which GGAM is a party; (E)
                The officers and equity holders of GGAM are listed in the GGAM
                Disclosure Letter; (F) GGAM has not engaged any broker, investment
                banker, advisor, or any other party to act for GGAM in this transaction
                where Owners are liable for their fees; (G) there is no litigation or
                proceedings pending or threatened against GGAM that could adversely
                affect the validity of this Agreement or the performance of GGAM of its
                obligations under this Agreement; (H) to its best knowledge, GGAM has
                complied and shall comply with all material requirements of the Philippine
                Anti-Money Laundering Laws in this Project; (I ) to its best knowledge,
                GGAM has complied and shall comply with all material provisions of the
                Philippine Anti-Corruption Laws in connection with this Project; and (J)
                GGAM has the management and technical expertise, track record,
                experience, adequate capitalization and financial resources to comply

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                with its obligations under this Agreement, including the indemnity
                obligations under Clause 12.1.


   11.   REGULATORY MATTERS

         11.1   Legal Compliance

                The Owners and GGAM, acting through the Management Team, shall
                work together and use their commercially reasonable efforts to do
                whatever is necessary (as an operating cost of the Facilities) to ensure
                that all relevant government permits and licenses necessary to develop,
                construct and operate the Facilities are maintained, that the Facilities
                operate in accordance with all government approvals and with all
                applicable laws of the Philippines, that all regulatory and license
                requirements of PAGCOR for the operation of the Facilities are complied
                with. The costs and expenses of all relevant government permits and
                licenses obtained in connection with the initial development and
                construction shall be included in project costs and not treated as an
                operating cost of the Facilities.

         11.2   Regulatory Disclosures

                The Owner and GGAM each agree to provide the infornration to
                governmental authorities having jurisdiction over the casino, the Owner,
                GGAM or each of their affiliates regarding any matter within the scope of
                authority of the governmental authorities.

         11.3   Privileged Licenses

                The Owner and GGAM (i) acknowledges that the other party or its
                affiliates hold or will hold one or more licenses under gaming laws; (ii)
                agrees to use commercially reasonable efforts to take, or to refrain from
                taking, any actions that are necessary to prevent, or that would be
                reasonably likely to cause, the gaming license of the other party or its
                affiliates to expire, terminate, or not be renewed; and (iii) agrees to
                cooperate with the other party, as reasonably requested on a confidential
                basis, and at no out-of-pocket cost or expense to the cooperating party, to
                provide information reasonably necessary to enable the other Party and
                its affiliates to respond to any requests for information in connection with
                the acquisition or preservation of such gaming licenses or compliance
                with any gaming regulations applicable to the other party or its affiliates
                and the other party's internal compliance policies of general applicability
                relating thereto (including information required in connection with any
                necessary background checks or other investigations regarding credit
                standing, character, and personal qualifications).




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   12.   INDEMNITY AND LIABILITY

         12.1   Indemnity by GGAM

                GGAM shall indemnify and keep indemnified the Owners against each
                and every liability which the Owners may incur to any other person
                whatsoever and against the adverse effects of all claims, including claims
                by third parties, to the extent that the same arise as a result of the gross
                negligence or wilful misconduct of GGAM subject to the limitation set out
                in Clause 12.3.

         12.2   Indemnity by Owners

                The Owners shall indemnify and keep indemnified GGAM against each
                and every liability which GGAM may incur to any other person
                whatsoever and against the adverse effects of all claims, including claims
                by third parties, to the extent that the same arise out of or in connection
                with the performance by GGAM of the Services, other than to the extent
                such claims arise as a result of (i) the gross negligence or wilful
                misconduct of GGAM, (ii) the acts or omissions of GGAM or an Affiliate of
                GGAM in a transaction with an Affiliate of GGAM; or (iii) the taking of an
                action by GGAM or an Affiliate of GGAM that is outside the scope of the
                authority granted to GGAM in this Agreements, and subject always to the
                limitations set out in Clause 12.3.

         12.3   Limitation on Liability

                (a)    Neither Party shall be liable to the other under this Agreement for
                       any indirect or consequential loss or punitive damages.

                (b)    The liability of GGAM to the Owner shall in no event exceed the
                       total amount of fees that GGAM has received during the Term that
                       such liability is incurred under this Agreement, provided that this
                       limit shall not apply where the liability in question is incurred as a
                       result of the willful misconduct of GGAM.


   13.   INSURANCE

         13.1   GGAM's Insurance

                GGAM shall maintain insurance necessary to cover its obligations and
                liabilities under or in connection with this Agreement.

         13.2   Owners' Insurance

                The Owner shall provide GGAM with copies of the Owner's insurances
                (with commercially sensitive items omitted).




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                The Owners shall maintain adequate personal accident insurance,
                medical insurance and such other insurances as may be separately
                required by GGAM for each of GGAM's personnel assigned to perform
                work in connection with the provision of any Services.


   14.   INFORMATION AND CONFIDENTIALITY

         14.1   Copyright in Documentation

                The copyright and all other intellectual property rights in respect of all
                proprietary documentations prepared by GGAM in connection with the
                performance of the Services and furnished to the Owner under the terms
                of this Agreement shall remain vested in GGAM but the Owner shall have
                an irrevocable, royalty-free right to copy, reproduce, modify and use the
                same for any purpose directly related to the construction, operation,
                repair, replacement, renewal or operation of the Facilities.

         14.2   Confidentiality

                Each Party (the "Receiving Party") shall not, without the consent of the
                other party at any time divulge or suffer or permit its consultants, servants
                or agents to divulge to any person or use for purposes unconnected with
                this Agreement any information which is by its nature or may be marked
                to be confidential concerning the other party, the Project Agreements or
                the Facilities (including information concerning the costs of operation or
                the business situation or financial condition of the other party) or any
                information concerning the contents of this Agreement or of the Project
                Agreements. Notwithstanding the foregoing, the Receiving Party may
                disclose such confidential information (i) as required by law or by the
                court of any competent jurisdiction or by an government or regulatory
                body having jurisdiction over the Receiving Party including gaming, tax,
                financial regulators, (ii) to its consultants, attorneys, accountants,
                representatives, advisors and to those of their respective personnel who
                need to know the same for the proper performance of this Agreement, (iii)
                to its affiliates and subcontractors and their employees who need to know
                the same for the proper performance of this Agreement and (iv) to any
                bank or party providing financing to the Owners, provided that such
                consultants, attorneys, accountants, representatives, advisors and their
                personnel, affiliates and subcontractors, their employees, and financiers
                shall be under obligation to maintain this confidentiality.

                The provisions of this Clause shall continue to apply, without limit in point
                of time, until such information enters the public domain without fault on
                the part of the Receiving Party.

          14.3 Proprietary Programs and Products

                If GGAM has a copyright or patent over its proprietary programs or
                products which are used in the Facilities during the term of this
                Agreement, the continued use of such proprietary programs and products

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                at the Facilities after the termination of this Agreement shall be subject of
                a license agreement as the Parties may agree on. If GGAM or its
                Affiliates are developing a proprietary program or product for its own use
                or the use of other facilities that they are operating, they shall notify the
                Owners in writing of such development, and the Owners shall respect the
                proprietary character and GGAM's ownership of such proprietary program
                or product. Provided that programs and products which are developed at
                the Facilities shall belong to the Facilities. If GGAM wishes to use such
                new programs and products in another casino, it should obtain the prior
                written consent of the Owners, which consent shall not be withheld
                unreasonably. If a program or product is jointly developed by GGAM and
                the Management Team of the Facilities, such program or product shall be
                jointly owned by GGAM and the Facilities.


   15.   TERMINATION

         15.1   By Owner for GGAM's Breach

                The Owners may at any time, by written notice addressed to GGAM, give
                prior notice of intention to terminate the Services under this Agreement,
                in whole or in part if any of the following have occurred:

                (a)     GGAM has committed a material breach of this Agreement that
                        either is incapable of remedy or, if capable of remedy, has not
                        been remedied within 30 days of the Owner's notice or such
                        longer period not exceeding 60 days as is reasonably necessary
                        to effect the remedy;

                (b)     failure by GGAM to comply with any applicable laws, rules, or
                        regulations, including a default under any governmental license or
                        permit, which will materially adversely affect the performance of its
                        obligations under this Agreement, which, if capable of remedy,
                        has not been remedied within 40 days (or such longer cure period
                        as may be allowed by law, provided no cross-default is triggered
                        thereby) from notice to it of such failure or default from the Owners
                        or from the relevant government agency.

                (c)     an act by GGAM which will violate, and cause a default on, any of
                        the Project Agreements referred to in Clause 2.6(b), which will
                        have a material adverse effect on the Owners or on the operations
                        of the Facilities and which if capable of remedy, has not been
                        remedied within the cure periods provided in the relevant Project
                        Agreements.

                (d)     the commencement of any voluntary bankruptcy or insolvency
                        proceeding or the consent to any involuntary bankruptcy or
                        insolvency proceeding against a GGAM.




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                (e)    the filing of any involuntary proceeding in bankruptcy or insolvency
                       or a proceeding seeking the appointment of a receiver or
                       custodian against GGAM that is not vacated within sixty (60) days
                       of commencement thereof.

                (f)    an affirmative act or failure to act by GGAM that results in a final
                       order by PAGCOR that GGAM is unsuitable to participate in the
                       martagement of the Facilities,        and such order by PAGCOR
                       cannot be remedied within the cure period as may be allowed by
                       PAGCOR, provided no cross-default is triggered thereby.

                (g)   William Weidner ceases to be the CEO of GGAM, unless William
                      Weidner, Brad Stone, or Garry Saunders, or any person
                       nominated by any of them and approved by the Owners, continue
                       as a senior officer of GGAM actively involved in the performance
                       of GGAM's obligations under this Agreement.

                The effective date of such termination of this Agreement shall be 60 days
                after receipt of such notice by GGAM, unless some other shorter or
                longer period is agreed between the Owners and GGAM.

                Upon receipt of any such notice, GGAM shall take immediate steps to
                comply with the directions of the Owners and shall in any event ensure
                that its expenditure in relation to the Services is reduced to a minimum.


         15.2   By GGAM for the Owner's Breach

                GGAM may at any time, by written notice addressed to the Owners, give
                prior notice of intention to terminate the Services, in whole or in part if
                any of the following have occurred:

                (a)    the failure of Owners to fulfill any of their material obligations in
                       the Agreement that either is incapable of remedy or, if capable of
                       remedy, has not been remedied within 30 days of GGAM's notice
                       or such longer period not exceeding 60 days as is reasonably
                       necessary to effect the remedy,

                (b)    the failure of Owners to comply with any applicable laws, rules or
                       regulations, including a default under any governmental license or
                       permit, which will materially adversely affect the performance of
                       its obligations under this Agreement, which, if capable of remedy,
                       has not been remedied within 40 days (or such longer cure period
                       as may be allowed by law or granted by the relevant government
                       agency, provided no cross-default is triggered thereby) from notice
                       to it of such failure or default from GGAM or from the relevant
                       government agency,

                (c)     a default by the Owners in any of the Project Agreements referred
                       to in Clause 2.6{b), which if capable of remedy, has not been
                       remedied within the cure periods provided in the relevant Project

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                       Agreements, which will have a material adverse effect on the
                       operation of the Facilities or on the Owners' ability to comply with
                       their obligations under this Agreement,

                (d)    the commencement of any voluntary bankruptcy or insolvency
                       proceeding or the consent to any involuntary bankruptcy or
                       insolvency proceeding against an Owner,

                (e)    the filing of any involuntary proceeding in bankruptcy or insolvency
                       or a proceeding seeking the appointment of a receiver or
                       custodian against an Owner that is not vacated within sixty (60)
                       days of commencement thereof,

                (f)    a material breach under the Option Agreement.

                The effective date of such termination of this Agreement shall be 60
                days after receipt of such notice by the Owners, unless some other
                shorter or longer period is agreed between GGAM and the Owners.


         15.3   Mutual Termination Rights

                Either Party may at anytime, by written notice addressed to the other
                Party, give notice of its termination of this Agreement, without the same
                being deemed a breach or default by either Party hereto, if any of the
                following have occurred:

                (a)     a change in the terms and/or conditions of the PAGCOR License
                       (or its cancellation, revocation or termination) and compliance with
                       the revised terms and/or conditions would be likely to cause a
                       material adverse effect on Owners' or GGAM's rights and
                       obligations under this Agreement.

                (b)    if there is any change in law, order, nule, regulation, or policy in
                       any jurisdiction inside or outside the Philippines that results or
                       would result in the carrying on of the Owners' or GGAM's business
                       in the Philippines being unlawful or materially burdensome, or the
                       Owners or GGAM losing its qualification, license, authority or
                       capacity to perform under this Agreement.

                (c)    if there is a change in the national gaming legislation in the
                       Philippines that results in a material adverse impact on either
                       Party's interests in the Facilities, under this Agreement, or on any
                       other business of GGAM inside or outside the Philippines.

                (d)     a failure by GGAM under the provisions of items 2 or 3 of Annex
                       B on the Performance Standards.

                (e)   the (i) denial, revocation, suspension or non-renewal of any gaming
                        license, approval or permit of one Party which is caused by any
                        action or inaction of the other Party or their respective Affiliates; or

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                       (ii) commencement of any action by the applicable regulatory
                       authority seeking such a denial, revocation, suspension or non-
                       renewal that, if adversely determined, would result in the denial,
                       revocation, suspension or non-renewal of any gaming license,
                       approval or permit which is caused by any action or inaction of the
                       other Party or their respective Affiliates; provided, however, the
                       Party causing such event shall have the lesser of (A) one hundred
                       eighty (180) days from commencement of such action, (B) such
                       other time period as may be granted by the applicable regulatory
                       authority and (C) such time period required by the threatened
                       Party (as reasonably determined based upon the advice of legal
                       counsel) to avoid the denial, revocation or suspension of any such
                       gaming license, approval or permit held by such Party, as
                       applicable, to cure any event giving rise to the commencement of
                       such action described in clause (ii) hereof.


         15.4   Payments upon Termination

                The Owner shall pay GGAM upon termination of this Agreement all
                amounts which are due to it but unpaid under this Agreement up to the
                effective date of such termination; and all costs incidental to the orderly
                termination of the Services including the repatriation of personnel, the
                termination of sub-contracts and the cost of provision of copy
                documentation as may be agreed upon by the Parties.

                Provided that if the termination of the Agreement is due to the fault of
                GGAM, the reasonable market rate costs incurred by the Owner in
                recruiting a replacement service providers shall be deducted from the
                amount payable to GGAM.

         15.5   General Obligations on Termination

                (a)    Termination of this Agreement howsoever arising shall be without
                       prejudice to the rights and remedies of either Party in relation to
                       any negligence, omission or default of the other prior to such
                       termination.

                (b)    GGAM shall cooperate with the Owners in securing an orderly
                       transition of the Services to a replacement service provider or to
                       the Owners' replacement officers/managers. Without limiting the
                       foregoing, GGAM shall permit the Owners to make offers of
                       employment to members of GGAM's officers and staff who are
                       providing the Services, including the COO and members of the
                       Management Team of the Facilities, but excluding William
                       Weidner, Brad Stone, and Garry Saunders.




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   16.   ASSIGNMENT AND SUB-CONTRACTING

         16.1   Assignment by Owners

                (a)   The Owners may pledge or assign their rights under this Agreement,
                       or their shares of stock, to any bank providing finance for the
                       Facilities without the consent of GGAM being required. GGAM shall
                       acknowledge such assignment in writing and shall if required by the
                       Owners' financiers enter into a direct agreement with such
                       financiers containing customary terms reasonably required by such
                       financiers provided that nothing therein shall increase liability of
                       GGAM. The Owners shall use commercially reasonable efforts to
                       convince the banks to agree to a commercially reasonable non-
                       disturbance agreement that will allow GGAM to continue to render
                       Services and to exercise its rights under this Agreement
                       notwithstanding a foreclosure or exercise of security rights by such
                       banks, provided that refusal of the banks to agree to such non-
                       disturbance agreement shall not be a breach on the part of the
                       Owners.

                (b)     Any (i) sale, assignment or transfer of shares of stocks in the
                       Owners to third parties such that Enrique K. Razon Jr. will cease to
                       be the ultimate controlling shareholder which controls at !east 51%
                       of the shares of stock of the Owners (the "Controlling
                       Shareholder''), or (ii) sale, assignment or transfer of the Facilities to
                       third parties, (iii) or sale, assignment or transfer of the PAGCOR
                       License, (each a "Change of Control in Owners") during the Term
                       of this Agreement shall have the following effect:

                         (A)      If the new Controlling Shareholder of the Owners, or the
                         new owner of the Facilities, or the new owner of the PAGCOR
                         License following a Change of Control in Owners is (i) acceptable
                         to GGAM, (ii) has sufficient financial resources and liquidity to
                         fulfill Owners' obligations under this Agreement, and (iii) have
                         passed PAGCOR's probity test, then this Agreement shall
                         continue in force and GGAM shall continue to perform the
                         Services and exercise its rights under this Agreement.

                         (B) If the new Controlling Shareholder of the Owners, or the new
                         owner of the Facilities, or the new owner of the PAGCOR License
                         following a Change of Control in Owners terminates this
                         Agreement without cause or fault of GGAM, then GGAM shall be
                         entitled to the Termination Fee to be paid by such new
                         Controlling Shareholder of the Owners, or new owner of the
                         Facilities, or new owner of the PAGCOR License. Provided that
                         GGAM shall not be entitled to the Termination Fee if (i) it is in
                         default (which is existing and uncured) under this Agreement, or
                         (ii) the effective date of such termination occurs after the
                         expiration of the 4th Fiscal Year and GGAM is not in compliance


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                       with the Performance Standards provided in item 1 of Annex B
                       during the prior full Fiscal Year.

                       (C)      If the new Controlling Shareholder of the Owners, or the
                       new owner of the Facilities, or the new owner of the PAGCOR
                       License following a Change of Control in Owners is (i) not
                       acceptable to GGAM because it does not have sufficient financial
                       resources and liquidity to fulfill Owners' obligations under this
                       Agreement, or (ii) is known in the community as being of bad
                       moral character, or has been convicted of a felony in any court
                       (including state or federal court in the U.S.A.), or is found
                       unsuitable to hold a gaming license, or (iii) who would cause the
                       denial, loss, or termination of any gaming license or approval of
                       GGAM, then GGAM has a right to terminate this Agreement and
                       shall be entitled to receive the Termination Fee from the Owners.
                       Provided that GGAM shall not be entitled to the Termination Fee
                       if (x) it is in default (which is existing and uncured) under this
                       Agreement, or (y) the effective date of such termination occurs
                       after the expiration of the 4th Fiscal Year and GGAM is not in
                       compliance with the Performance Standards provided in item 1 of
                       Annex B during the prior full Fiscal Year.

                       (D)     If a new shareholder of the Owners, following the issuance
                       or sale, assignment or transfer of shares of stock in the Owners
                       (even if it does not result in a Change of Control in Owners), is an
                       Unsuitable Person, then GGAM has the right to terminate this
                       Agreement and shall be entitled to receive the Termination Fee
                       from the Owners. Provided that GGAM shall not be entitled to the
                       Termination Fee if (i) it in default (which is existing and uncured)
                       under this Agreement, or (ii) the effective date of such termination
                       occurs after the expiration of the 4th Fiscal Year and GGAM is
                       not in compliance with the Performance Standards provided in
                       item 1 of Annex B during the prior full Fiscal Year.

                (c)    An initial public offering (I PO) or a back-door listing of the Owners
                        or of the holding companies which owns or controls the Owners
                        in the Philippine Stock Exchange or in other stock exchanges
                        shall not constitute a trigger of a Change of Control of Owners
                       where Enrique K. Razon Jr. continues to own or control, directly
                        or indirectly, the Owners following such IPO or back-door listing.


         16.2   Assignment by GGAM

                GGAM shall not, without the written consent of the Owners, assign either
                its obligations or benefits arising under this Agreement. The Parties
                acknowledge that GGAM may assign its functions under this Agreement
                to its Affiliates where William Weidner is the CEO, or William Weidner,
                Brad Stone or Garry Saunders, or any person nominated by any of them
                and approved by the Owners, are the senior officers who will be actively
                involved in the performance of such transferee's obligations under this

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                 Agreement, provided that such Affiliate shall have adequate capitalization
                 and financial resources to comply with its obligations under this
                 Agreement, including the indemnity obligations under Clause 12.1.
                 Notwithstanding anything to the contrary herein, GGAM may assign this
                 Agreement to an entity organized and existing under the laws of the
                 Netherlands as required to satisfy the tax structure of GGAM provided
                 that such entity must at all times be owned by the same constituent
                 owners and controlled by the same individuals as GGAM (except for
                 independent Dutch board members required under Netherlands law).

          16.3   General

                 Any assignment to an Affiliate and/or any sub-contracting shall not in any
                 way relieve GGAM from any liability or obligation under or in connection
                 with this Agreement.

    17.   FORCE MAJEURE

          17.1   Event of Force Majeure

                 "Event of Force Majeure" means:

                 any events which was unforeseeable at the time this Agreement was signed,
                 the occurrence and consequences of which cannot be avoided or overcome,
                 and which arises after the time this Agreement was signed and prevents total
                 or partial performance of this Agreement by a Party of its commitments under
                 this Agreement. Such events will include war, declared or not, or hostilities
                 involving the Republic of the Philippines or belligerence, blockade, revolution,
                 insurrection, insurgency, riot, public disorder, expropriation, requisition,
                 confiscation or nationalization by or involving any governmental authority of
                 or within the Republic of the Philippines, earthquakes, typhoons, flood, fire,
                 war, failures of international or domestic transportation, acts of Philippine or
                  U.S. government or public agencies, epidemics, strikes and any other
                  instances which cannot be foreseen, avoided or overcome, including
                  instances which are accepted as force majeure in general international
                  commercial practice.

          17.2   Consequence of Event of Force Majeure

                 If an Event of Force Majeure occurs. a Party's obligations under this
                 Agreement that are affected by such an event will be suspended during the
                 period of delay caused by the Event of Force Majeure and will be
                 automatically extended, without penalty, for a period equal to such
                 suspension. The Party claiming an Event of Force Majeure will promptly
                 inform the other Party in writing and will furnish within thirty (30) days
                 thereafter sufficient evidence of the occurrence and duration of such Event of
                 Force Majeure. The Party claiming an Event of Force Majeure will also use
                 all reasonable endeavours to terminate that Event of Force Majeure. When
                 an Event of Force Majeure occurs. the Parties will immediately consult with
                  each other in order to find an equitable solution and will use all reasonable
                  endeavours to minimize the consequences of such Event of Force Majeure.

                  As provided in Clause 3.6, the Owners shall use the insurance proceeds
                  to restore or rebuild the damage or loss on the Facilities.

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   18.   MISCELLANEOUS

         18.1   Language

                This Agreement is executed in English. All communications between the
                Owner and GGAM in connection with the Services and this Agreement,
                both written and oral, shall be in English.
         18.2   Notices

                Notices under this Agreement shall be in writing delivered to the address
                stated below. Delivery can be by hand, or facsimile message against a
                written confirmation of receipt, courier with proof of delivery, or by
                electronic mail with confirmation receipt.


                 Owner:                  Bloomberry Resorts and Hotels, Inc.
                                         Unit 601, 6th Floor Ecoplaza Building
                                         Pasong Tame Extension, Makati City
                                         Philippines

                                         Attention:       Enrique K. Razon, Jr.
                                                          Chairman and CEO
                                        Telephone No.     +632 245 2165
                                        Fax No.           +632 245 4966
                                        Email             Erazon@ictsi.com

                                         And:

                                         Sureste Properties, Inc.
                                         26th Floor, 139 Corporate Center Building
                                         Valero Street, Salcedo Village
                                         Makati City, Philippines

                                         Attention:       Enrique K. Razon, Jr.
                                                          Chairman and CEO
                                         Telephone No.    +632 245 2165
                                         Fax No.          +632 245 4966
                                         Email            Erazon@ictsi.com

                                         With copy to:

                                         Estela T. Occena
                                         Office ofthe Chairman
                                         3rd Floor ICTSI Administration Building
                                         MICT South Access Road
                                         Manila International Container Terminal
                                         North Harbor, Manila, Philippines
                                         Telephone No. +632 245 2185
                                         FaxNo.            +6322411187

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                                        Email             EOccena@ictsi.com


                 GGAM:                   c/o Global Gaming Asset Management,
                                         L.P. 3575 West Post Road
                                         Las Vegas, Nevada, U.S.A. 89118
                                         Attention:   William Weidner
                                                      President
                                         Telephone No. (702) 897-5600
                                         Fax No.       (702)635-0202
                                         Email         weidner@gmail.com



         18.3   Purchase of Shares Option

                GGAM is hereby granted the right to purchase up to ten percent (1 0%)
                ownership in the Facilities and the gaming license by purchasing 10% of
                the shareholdings of the Owners. The purchase price for this 10% interest
                shall be US$15 Million (representing 10% value of the license) plus 10%
                of the equity that the Owners have infused to the Project at the time
                GGAM exercises its option to purchase the 10% shares. This right to
                purchase 10% interest will expire if it is not exercised by Start Date.

                The Parties shall execute a mutually acceptable Option Agreement (the
                "Option Agreement") to embody the share purchase option under this
                Clause within sixty (60) days (or such extended periods as the parties
                may mutually agree) from the date of this Agreement. In the event the
                Parties are unable or fail to execute the Option Agreement within such
                period, GGAM shall have the right to terminate this Agreement by
                sending a notice of termination to the Owners within six (6) months from
                the expiration of such 60 day (or extended) period. GGAM's right to
                terminate this Agreement under this Clause 18.3 shall expire if it is not
                exercised within such 6 months period.

                The Parties shall negotiate in the Option Agreement a provision which will
                protect the equity invested by GGAM (when it exercises the option to
                purchase 10% ownership interest referred to under the Option
                Agreement) after the Agreement is terminated under the terms of the
                Agreement.

                In addition, the Parties covenant and agree the Option Agreement shall
                grant GGAM certain co-investment rights (such rights subject to the
                mutual agreement of the Parties) in such competing facilities and/or
                casinos permitted under Clause 18.8, provided that such rights shall be in
                the same proportion of ownership as provided for in this Clause 18.3 and
                upon no worse economic terms than those enjoyed by the Owners (or
                their affiliates or any of their respective officers, directors, partners,
                shareholders) in making their investment in such competing facilities
                and/or casinos.


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        18.4    Independent Contractor

                GGAM shall undertake its obligations under this Agreement as an
                independent contractor of the Owner. Nothing in this Agreement shall be
                construed to be or create a partnership, agency, or joint venture between
                the Owners, their respective successors or assigns, on the one part, and
                GGAM, its successors and assigns, on the other part. Notwithstanding
                the temns and conditions of this Agreement, nothing in this Agreement nor
                actions of the Parties pursuant to the provisions of this Agreement shall,
                directly or indirectly, expressly or implied, create, establish, or impose any
                principal agent relationship between Owner, its successors and assigns,
                as principal, and GGAM, its successors and assigns, as agent, nor
                create, establish or impose any fiduciary duty under the laws governing
                principal/agent relationships or otherwise; provided, however, that GGAM
                shall be a limited agent for purposes of executing documents on Owners'
                behalf to the extent expressly permitted under this Agreement. This is
                notwithstanding any equity investment of GGAM in the Owner.

        18.5    Amendment and Waiver

                The Parties may not amend or waive this Agreement, or any portion
                thereof, or consent to any Party's departure from this Agreement, except
                pursuant to a written agreement of the Parties that identifies itself as an
                amendment, waiver, or consent to this Agreement, as the case may be,
                and that is executed by a duly authorized representative of each Party.
                No failure or delay in exercising any right or remedy, no failure or delay in
                requiring the satisfaction of any condition under this Agreement, and no
                course of dealing between the Parties operates as a waiver or estoppel of
                any right, remedy, or condition. A written waiver or consent on one
                occasion is effective only in that specific instance and only for the
                purpose that it is given and is not to be construed as a waiver or consent
                on any future occasion or against any other Party or person.

         18.6   Partiallnvalidity

                If any provision of the Agreement is found to be invalid or unenforceable
                by any courts of competent jurisdiction, this shall not effect the validity or
                enforceability of the other provisions of this Agreement.

         18.7   Conflicts

                Except as expressly set forth herein, if there is any conflict or ambiguity
                between the provisions of this Agreement and the provisions of any other
                agreement or contract between the Parties with respect to the subject
                matter of this Agreement, the provisions of this Agreement shall prevail.

         18.8   Non-Compete

                GGAM, or any of its directors, partners, officers or Involved Affiliates
                (which shall mean an affiliate of GGAM involved in rendering the

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                Services, or an affiliate of GGAM which has access to confidential
                information of the Owners and/or the Facilities except if such confidential
                information is limited to its CEO identified in the GGAM Disclosure Letter;
                provided, however, that Cantor Fitzgerald, LP. or any affiliate of Cantor
                Fitzgerald, LP. (excluding Global Gaming Management LP. and GGAM,
                or its directors, partners and/or officers) shall not be deemed an Involved
                Affiliate unless they are rendering the Services under this Agreement)
                shall be prohibited from being involved in the ownership, management or
                operation of another casino or gaming facility in the Philippines (unless it
                is done together with the Owners), during the term of the Agreement and
                2 years after its expiration or termination. This 2-year-from-termination
                restriction shall not apply if the Agreement is terminated because of a
                breach or default of the Owners.

                The Owners, or any of its directors, partners, officers or affiliates shall be
                prohibited from being involved in the ownership, management or
                operation of: (a) another casino or casino/hotel project licensed under the
                same PAGCOR License as the Facilities; or (b) another casino or
                casino/hotel project in the Philippines of the same magnitude or scale as
                the Facilities (unless GGAM has been invited to render the Services in
                such other facilities}; or {c) any other casino or casino/hotel project in the
                Philippines that includes Foreign Junket Players, Local High Roller Tables
                and/or Foreign High Roller Tables (unless GGAM has been invited to
                operate that portion of the casino with respect to such Foreign Junket
                Players, Local High Roller Tables andlor Foreign High Roller Tables
                therein, which operation shall be upon the same terms set forth in this
                Agreement), during the term of the Agreement and 2 years after its
                expiration or termination. This 2-year-from-tenmination restriction shall not
                apply if the Agreement is terminated because of a breach or default of
                GGAM or if it fails to comply with the Performance Standards provided in
                item 1 of Annex B.


         18.9   Publicity

                Owner and GGAM shall consult with each other on all press releases
                containing previously non-public information relating to the Facilities and
                neither Party shall issue such a press release without the prior written
                approval of the other Party.

         18,10 Further Assurance

                The Parties shall each perform such acts, execute and deliver such
                instruments and documents, and do all such other things as may be
                reasonably necessary to accomplish the transactions contemplated by
                this Agreement.

         18.11 Survival

                All Clauses that are necessary to enforce the terms and conditions of this
                Agreement shall survive expiration of the tenm of this Agreement.

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         18.12 Entire Agreement

                This Agreement and the Disclosure Letter and GGAM Disclosure Letter
                constitute the entire agreement between the Parties hereto pertaining to
                the subject matter hereof and fully supersedes any and all prior oral or
                written agreements or understanding between the Parties pertaining to
                the subject matter hereof.

         18.13 Counterparts

                This Agreement may be executed in several counterparts and all such
                executed counterparts shall constitute a single agreement, binding on all
                of the Parties, their successors and assigns. The signature of all of the
                Parties need not appear on the same counterpart, and delivery of an
                executed counterpart signature by electronic communications is as
                effective as executing and delivering this Agreement in the presence of
                the other Party to this Agreement.


   19.   DISPUTES

         19.1   Mutual Agreement

                The Parties agree to act in good faith to resolve any and all disputes
                between them at the working group level. Any dispute that cannot be
                settled by mutual agreement within 30 days and such dispute relates to
                the interpretation, carrying out of obligations, breach, termination or
                enforcement of this Agreement or in any way arises out of or is related to
                this Agreement (except the disputes covered by Annex I) shall be settled
                exclusively in accordance with Clause 19.2.

         19.2   Arbitration

                Except as required by Annex I with respect to Expert Disputes, any
                dispute required to be settled in accordance with this Clause 19.2 shall be
                settled by arbitration in Singapore under the United Nations Commission
                on International Trade Law (UNCITRAL) Arbitration Rules in force at the
                date of this Agreement (the "Rules"), except that to the extent the then
                current Rules are inconsistent with the provisions of this Clause 19.2, in
                which event the terms hereof shall control.

                (a)     If either Party asserts that a dispute has arisen which is required
                to be settled in accordance with this Clause 19.2, such asserting Party
                shall give prompt written notice (or notice as otherwise provided herein) to
                the other Party. The arbitration shall be administered by a panel of three
                arbitrators appointed in accordance with the following provision: One
                arbitrator shall be appointed by each Party (the Owners being considered
                one Party), and one arbitrator shall be jointly agreed and appointed by the
                two arbitrators chosen by the Parties. Arbitration proceedings shall take
                place in English.

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              (b)     The decision of the arbitration panel shall be final and binding on
              the Parties, without right of appeaL The Parties agree in advance that if
              one Party initiates arbitration, the other Party shall be bound to
              participate, and the decision of the arbitration panel shall be binding upon
              both Parties and enforceable in all jurisdictions.

              (c)      The arbitrators may consolidate proceedings with respect to any
              dispute under this Agreement with proceedings with respect to any
              related controversy under this Agreement However, except as
              specifically set forth in the preceding sentence: (i) arbitration only will be
              conducted on an individual, not class-wide, basis; (ii) only GGAM and
              Owners (and their Affiliates and their respective officers, directors,
              owners, employees, agents and representatives) may be parties to any
              arbitration proceeding described in this Clause 19.2; and (iii) no such
              arbitration proceeding shall be consolidated with any other arbitration
              proceeding involving GGAM or Owners and/or any other Person. Except
              in connection with claims by third-parties for which a Party is entitled to
              indemnification pursuant to this Agreement (including claims where such
              third-party is seeking multiple, exemplary or punitive damages), the award
              may not include, and the parties specifically waive any right to an award
              of multiple, exemplary or punitivedamages.

              (d)      The Parties agree that, in connection with any arbitration
              proceeding, each Party must submit or file any claim which would
              constitute a compulsory counterclaim within the same proceeding as the
              claims to which it relates. Any such claim which is not submitted of files
              will be forever barred unless written notice specifying such claim is
              provided to the other Party within twenty-four (24) calendar months after
              the later of (i) the date of such breach or violation; and (ii) the date of
              discovery of the facts (or the date the facts could have been discovered,
              using commercially reasonably diligence) giving rise to such breach or
              violation. Such written notice shall not toll any applicable statute of
              limitations.

              (e)     Notwithstanding anything to the contrary contained in this
              Agreement, the Parties shall each have the right in the proper case to
              obtain temporary restraining orders and temporary or preliminary
              injunctive relief from a court of competent jurisdiction, provided that, each
              Party must contemporaneously submit their dispute for arbitration on the
              merits, if required herein.

              (f)     The provisions of this Clause 19.2 are intended to benefit and bind
              third-party non-signatories and shall continue in full force and effect
              subsequent to and withstanding the expiration or termination or this
              Agreement

              (g)    In addition to the Rules, the Parties agree that the arbitration shall
              be conducted according to the International Bar Association Rules of
              Evidence as current on the date of the commencement of the arbitration.
              The arbitration panel shall order each Party to submit within a specified

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                time to the arbitration panel and to the other parties witness statements
                by each witness on whose testimony it intends to rely.

                (h)      During the pendency of the arbitration, the Parties shall share
                equally the fees and expenses of the arbitrator. As part of the award, the
                arbitrator shall designate the Party whose position is substantially upheld,
                who shall recover from the other Party all of its reasonable attorneys'
                fees, costs and expenses, including its share of the fees and costs paid to
                the arbitrator, expert witness fees, compensation for in-house counsel,
                and all oth*er fees and expenses incurred in connection with the
                arbitration. The arbitrator may determine that neither Party's position was
                substantially upheld or otherwise allocate the fees and expenses in
                accordance with the relative extent to which either Party's position was
                upheld.

         19.3   Applicable Law

                This Agreement is made under and shall be governed by and construed
                in accordance with the laws of the Republic of the Philippines.

   IN WITNESS WHEREOF the Parties hereto have caused this Agreement to be executed
   on the date stated above, in the place indicated below.




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         IN WITNESS WHEREOF the Parties hereto have caused this Agreement to be executed
         on the date state , in the place indicated below.



BLOOM BERRY REJ/QrRTS AND HOTELS INC,
By:

Name: Enrique
Designation: ffi/i)fvfn
Place Signed:                         )



By:

Name: Enrique K
Designation: C i
Place Signed:


GLOBAL GAM!~ PHILifP/:j LLC

By/t#Vd_
Name: William Weidner
Designation: CEO
Place Signed:




                          [Signature Page to Management Services Agreement]
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                                        ANNEX A

                                        SERVICES


     GGAM's Pre-Opening
     Services.

                          GGAM acting through the Management Team has the right,
                          authority, obligation, and discretion, and is instructed to take all such
                          pre-opening actions for and on behalf of the Owners to operate all
                          aspects of the Facilities, including to:
                             1. Provide technical assistance on all aspects of planning,
                                  design, layout, and construction of the hotel, casino, food
                                  & beverage facilities, convention services, entertainment
                                  programs (where applicable), and other facilities and
                                  amenities, and recommendation of approval of all
                                  consultants to the Facilities
                             2. Advise on design and layout of the casino to include
                                  operational and functional criteria, layout of casino floor,
                                  selection and ordering of gaming equipment, in conjunction
                                  with key employees hired during pre-opening.
                             3. Prepare a pre-opening plan and budget in consultation
                                  with Owners and construction contractor and proposed
                                  operating budget in consultation with Owners.
                             4. Establish, implement, and monitor the pre-operating
                                  accounting, internal controls, security, human resources,
                                  marketing, and regulatory compliance systems in
                                  accordance with the pre-operating plan and key
                                  employees.
                             5. Advise contractors and consultants in the selection,
                                purchase, design, layout, and installation of all equipment
                                and facilities necessary or desirable for the efficient and
                                economical operation of the Facilities.
                             6. Review and monitor construction expenditures and
                                progress of construction, including the right to attend all
                                meetings with contractors and consultants involved in the
                                development, planning, design, and construction of the
                                Facilities
                             7. Recommend the selection and order FF&E in accordance
                                with the pre-opening plan and budget
                             8. Recommend the selection and order the gaming facilities'
                                data processing equipment and software, surveillance, and
                                security systems.
                             9. Recruit, select, and hire employees for the Facilities and
                                implementation of necessary procedures, techniques, and
                                training programs to obtain and evaluate qualified


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                           applicants.
                       10. Assist Owners as reasonably required in liaising with
                           government with respect to the design and construction of
                           the Facilities.
                       11. Cause relevant background checks to be conducted to
                           ensure suitability standards are met.
                       12. Develop marketing and operation plans, including junkets and
                           similar arrangements, in conjunction with key employees.
                       13. Conduct partial operations prior to a full opening (i.e., soft
                           opening) and any other pre-opening operations GGAM
                           determines are necessary for the Owners Facilities.


GGAM's Post-
Opening Services.

                     GGAM acting through the Management Team has the right,
                    authority, obligation, and discretion, and is instructed to take all such
                    post-opening actions for and on behalf of the Owners to operate all
                    aspects of the Facilities, including:
                    Operations. GGAM through the Management Team shall operate
                    and manage the day~to~day operations of the Facilities, including
                    to:
                        1. Establish, implement, and monitor all operating systems
                            (e.g., sales, marketing, reservations services, quality
                            assurance), establishment of rates and charges for guest
                            rooms, food, beverages, entertainment and other services or
                            facilities, and to manage of the day-to-day affairs of the
                            Facilities.
                        2. Use reasonable efforts, in the name and on behalf of
                            Owners, to collect all revenue from the operation of the
                            Facilities. and, where appropriate, issue receipts with
                            respect to any funds received.
                        3. Establish, implement, and monitor gaming systems,
                            management information systems, (and subject to the
                            oversight of the Board Audit Committee) surveillance and
                            other monitoring activities, floor and entrance security, cage
                            operations, casino accounting, slot and table operations,
                            and the management of the day-to-day affairs of the casino.
                        4. Make all decisions regarding junkets, granting of
                            complimentaries and extensions of credit and collections,
                            and establish a marker policy with regard thereto, subject to
                            the policies and guidelines approved by the Board.
                        5. Establish and control of FF&E reserve account and all other
                             operational bank accounts.
                        6. Establish, implement, and monitor the human resources
                             systems and policies of Facilities.
                        7. Recruit, select, terminate, train, manage, promote, and
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                       establish compensation and benefit plans for all personnel
                       necessary and, where appropriate, select and contract with
                       vendors and service providers to manage, operate, secure,
                       and market the Facilities.
                   8. Establish, implement, and monitor a payroll system for all
                       employees of the Facilities
                   9. Establish and implement a marketing plan for the Facilities
                       including advertising, promotions, joint marketing and
                       sponsorships, engagement of advertising agency/ies for the
                       promotion of the Facilities, preparation of marketing
                       materials, and direction of all public relations events and
                       efforts for the Facilities.
                   10. Establish, implement, and monitor all accounting and
                       finance systems and policies of the Facilities including
                       casino accounting, financial accounting, hotel/food &
                       beverage accounting, maintenance of books and accounts
                       of the Facilities in accordance with Applicable Accounting
                       Standards, handling of all cash revenue and payment of
                       Facilities operating expenses.
                   11. Establish, implement, and monitor all regulatory compliance
                       systems and policies for the Facilities (including with respect
                       to anti-money laundering and internal audit procedures).
                   12. Determine the appropriate number and location of gaming
                       tables and slots to be operated at and after-opening.
                   13. Perform or cause to be performed, in the name and on
                       behalf of the Owners, all maintenance and repair for the
                       Facilities, and, pursuant to approved budgets, all capital
                       improvements with respect to the Facilities.
                   14. Review and consult on Owners' risk management
                       (insurance) program, including the purchase of insurance
                       providing coverage for GGAM, Owners, and their Affiliates.
                   15. With the approval of the Owners, select and contract with
                       third parties (including leases in respect of any space in the
                       Facilities) to operate and manage any of the facilities and
                       amenities (e.g., spa, health club, restaurants, concessions,
                       retail, and sportsbook).
                   16. Negotiate, enter into, administer, amend, and terminate, in
                       the name and on behalf of the Owners, all contracts for the
                       use of Facilities, including hotel guest rooms, banquet,
                       meeting and conference facilities and other Facilities and
                       services
                   17. With the approval of the Owners, select tenants and
                        operators, and negotiate, execute, and administer leases,
                       licenses and concessions, and other agreements for third
                       party operated areas.
                   18. With regard to trade payables for goods and services
                        incurred in the ordinary course of business in the operation
                        of the Facilities and as otherwise permitted under the



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                       Agreement and subject to policies approved by the Board,
                       borrow money or execute credit obligations in the name and
                       on behalf of the Owners as obligors and/or guarantors in
                       connection.
                   19. GGAM and Owners shall mutually agree on the selection
                       and hiring of appropriate lawyers, consultants, investment
                       bankers, advisors and the like to render services for the
                       Facilities.
                   20. Advise and assist with respect to any debt or equity
                       financing, extraordinary corporate transactions, or the like.
                   21. Subject to a litigation policy to be approved by Owners and
                       GGAM, appoint counsel, commence, prosecute, defend,
                       and settle in the name and on behalf of Owners or the
                       Facilities, and control all legal actions and proceedings.
                   22. Take such actions within the Management Teams
                       reasonable control as COO deems necessary or advisable
                       to comply with all applicable laws with respect to the
                       operation of the Facilities (provided, however, GGAM shall
                       not be a guarantor of the Facilities compliance with such
                       applicable laws) and the terms of all insurance policies
                       provided to Management Team, or to contest the validity or
                       application of any such laws or requirements, including any
                       such laws or requirements that could affect in any manner
                       any gaming license of the Owners or GGAM or any of its
                       affiliates in any jurisdiction (and the Owners shall reasonably
                       cooperate with GGAM in connection with any such contest).
                   23. Establish the Compensation Committee.




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                                        ANNEX B

                        PERFORMANCE STANDARDS

          1. The {a) EBITDA projected in the Annual Budget (the "Projected EBITDA"),
  and the (b) Base Fee EBITDA projected in the Annual Budget (the "Projected Base Fee
  EBITDA") shall be the performance standards that GGAM shall comply with in rendering
  the Services under this Agreement (the "Performance Standards").

          2. The Owners shall have the right to terminate this Agreement, without payment
  of any additional fee (other than GGAM Fees, costs,               charges,   expenses,    and
  reimbursements (if any) accrued and unpaid and due and owing to GGAM through the
  date of termination}, penalty or premium, if, for any two (2) consecutive Fiscal Years
  (after the third (3rd) Fiscal Year from the Start Date), any of the following occurs:

               (a) EBITDA from the Facilities is less than eighty-five percent (85%) of the
                   Projected EBITDA for the relevant Fiscal Year; or

               (b) Base Fee EBITDA from the Facilities is less than eighty-five percent (85%)
                   of the Projected Base Fee EBITDA for the relevant Fiscal Year.

          3.      If the EBITDA or Base Fee EBITDA of the Facilities      falls below Sixty-five
   percent (65%) of Projected EBITDA or Projected Base Fee EBITDA, respectively, in any
   Fiscal Year (after the third (3rd) Fiscal Year from the Start Date), the Owners shall have
  the same right to terminate this Agreement as provided in item 2 above.

          4.      The termination of the Agreement under items 2 and 3 above shall be
   effective thirty (30) days after GGAM's receipt of the Termination Notice from the
   Owners; provided, however, that in the event that GGAM fails to meet the Performance
   Standards under item 2 above, GGAM shall have the right (but not the obligation) to
   cure such Performance Standards failure by paying the Owners the Cure Amount The
   "Cure Amount" shall mean an amount equal to the difference between the actual
   EBITDA or Base Fee EBITDA, as applicable, for the Fiscal Year in question and 85% of
   the Projected EBITDA or Projected Base Fee EBITDA, as applicable, for the Fiscal Year
   in question.

          5. In the event:

          (A)      any of the following shall occur during any Fiscal Year:      (i) an Event of
   Force Majeure, (ii) all or any portion of the Facilities temporarily closes, (iii) a breach or

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  default by the Owners of its material obligations under this Agreement, (iv) a reduction
  of the number of available room nights at the Facilities and/or reduction of the number of
  slots, table games or other gaming opportunities at the Facilities through no fault of
  GGAM, (v) a change made by the applicable Government Authority to: (a) the terms
  and conditions of the PAGCOR License (or the subsequent compliance with such
  revised terms and conditions) except as disclosed in the Disclosure Letter, (b) Applicable
  Law, (c) Philippine gaming legislation, (d) a capital improvement program is undertaken
  at the portion of the Facilities, (vi) Owners or GGAM is required to take any action at the
  instructions of the CEO, or (vii) Owners or GGAM is required to comply with the Project
  Agreements;

         (B) and those occurrences were not anticipated and provided for in the Annual
  Budget, the Projected EBITDA and Projected Base Fee EBITDA for such Fiscal Year:
  and

         (C) those occurrences have an adverse impact on the Facilities :

  then the Projected EBITDA and the Projected Base Fee EBITDA for such Fiscal Year
  shall be reduced (by the Expert pursuant to Annex I, if the Parties cannot agree on an
  equitable adjustment within 30 days) to reflect, on a proportional basis, any adverse
  impact caused thereby.

          6.   The Projected EBITDA and the Projected Base Fee EBITDA shall be
  increased or decreased by a percentage reflecting the increase or decline in other hotels
  and/or casinos monitored/tracked by PAGCOR during the relevant Fiscal Year as
  compared to the immediately preceding Fiscal Year.




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                                     ANNEX C

                            RESERVED MATTERS



  The Reserved Matters shall be:

  i.     Any amendment or change to the PAGCOR License.

  ii.    Any change in the architect's (Steelman) approved design inclusive of
         FF&E items. so long as Owners deliver the agreed upon Facilities and
         fulfill the obligations and duties under this Agreement and any such
         change does not materially adversely affect GGAM's ability to provide the
         Services or otherwise perform under this Agreement.

  111.   Naming of the Facilities.




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                            ANNEX D

                     ORGANIZATIONAL CHART




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                                HOTEL ORGANIZATIONAL



                                       GENERAL
                                      MANAGER •




                   MARKETING*




                   EXECUTIVE
                     CHEF*


                                                        HOTEL
                                                       SECURITY
                                                       MANAGER*


LEGEND
"' Key Personnel
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                                     ANNEX E

                               PHASE I FACILITIES

  The Phase I Facilities shall include the following:

  i.       Five star hotel with 494 hotel rooms, including 45 Bay suite and 7 VIP
           suites with basic room size of 450-1,780 square feet (43-165 square
           meters);

  ii.      Retail space of 5,040 square feet (468 square meters);

  iii.     Convention space of 18,900 square feet (1 ,757 square meters);

  iv.      Four (4} fine dining restaurants with approximate capacity for      655
           persons;

  v.       Two (2) casual dining restaurants with approximate capacity for     357
           persons;

  vi.      Food court and entertainment lounge;

  vii.     World-class casino of approximately 185,000 square feet (17,187 square
           meters) with over 3,000 gaming positions

  viii.    199 retail table games;

   ix.     51 high limit table games;

   x.      45 VIP junket table games;

   xi.     1,200 retail slot devices;

   xii.    Spa, health club, pool(s);

   xiii.   Flat parking lot with 556 parking spaces; and

   xiv.    Structured parking with 1,751 parking spaces.




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                                   ANNEX F

                            PHASE 1-A FACILITIES



  The Phase 1-A Facilities shall include the following:

  L      Expanded structured parking with 700 new parking spaces;

  iL     Landscape area, night club, and feature restaurant ; and

  iii.   Expanded retail space with 29,000 sq fU2,700 sq m area_




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                                   ANNEX G

                            PHASE 1-B FACILITIES



  The Phase 1-8 Facilities shall include the following:

         i.    Events Arena with approximately 5,000 seating capacity including
  bridge connection to Phase 1-A, to be developed at the sole option of the
  Owners and conditional on the availability of land.




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                                       ANNEX H

                                     DEFINITIONS



       "Affiliates" shall mean any Person that, directly or indirectly, controls, is
controlled by, or is under common control with, the referenced Party or other Person.
As used herein, the term "control" shall mean the possession, directly or indirectly, of
the power to direct or cause the direction of the management or policies of any
Person, or the power to veto major policy decisions of any Person, whether through
the ownership of voting securities, by agreement, or otherwise.

       "Agreement" shall mean this Management Services Agreement.

       "Annual Budget" shall have the meaning set forth in Clause 2.1 0.

      "Applicable Accounting Standards" shall mean those generally accepted
accounting principles established under the International Financial Reporting
Standards (IFRS) and International Accounting Standards (lAS) and set forth in a
framework of accounting guidelines, standards, conventions, and rules thereunder.

        "Applicable Law" shall mean the laws of the Philippines, and unless expressly
stated otherwise, shall include (i) statutes, laws, rules, regulations, ordinances, codes,
treaties, legally binding decrees, legally binding directives, legally binding guidelines or
other legal requirements of PAGCOR and any Philippine Governmental Authority,
including, any legal requirements under any Approvals, and (ii) judgments, injunctions,
orders or other similar requirements of any court, administrative agency or other legal
adjudicatory authority, in effect at the time in question and in each case to the extent
the Facilities or other assets or Person in question is subject to the same.

      "Approval Matrix" shall mean the approval matrix prepared by the Parties and
approved by the Owners.

       "Approvals" shall mean all licenses, permits, approvals, certificates, and other
authorizations granted or issued by any Governmental Authority for the matter or item
in question.

      "Audited Year End Financial Statements" shall have the meaning set forth in
Clause 2.9 (b).

       "Base Fee EBITDA" shall have the meaning set forth in Clause 4.3.

     "BOO Loan" shall mean the loans under: (a) the Omnibus Loan and Security
Agreement dated January 24, 2011 by Bloomberry Resorts and Hotels Inc. (Casino
Owner) as borrower and Sureste Properties Inc. as surety, and (b) the Omnibus Loan
and Security Agreement dated January 24, 2011 by Sureste Properties Inc. (Hotel
Owner) as borrower and Bloomberry Resorts and Hotels Inc. as surety, and in both

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loans Banco De Oro Unibank Inc. as Lender and Banco De Oro Unibank, Inc. -Trust
and Investment Group as security trustee.

      "Business Day" shall mean a day (other than a Saturday or Sunday) on which
banks generally are open in Paranaque City and Makati City, Philippines.

        "Business Plan" shall mean the business plan prepared by GGAM acting
through the Management Team and approved by the Owners prepared in accordance
with GGAM's standard planning and budgeting requirements, including plans for items
such as projected estimates of revenues, expenses, and cash flow associated with the
Facilities, estimated results of Facilities' operations, anticipated capital expenditure
projects, FF&E improvement and replacement plans, and marketing plans.

       "Board" or "Board of Directors" shall mean the board of directors of the Owners.

      "Capital Expense" shall mean any item of expense that, according to Applicable
Accounting Principles, is not properly deducted as a current expense on the books of
the Facilities, but rather should be capitalized.

        "Capital Improvement" shall mean any item of any nature incorporated into the
Facilities the cost of which is a Capital Expense.

       "Casino Owner" shall mean Bloomberry Resorts and Hotels Inc.

       "CEO" shall mean the chief executive officer designated by Owners.

       "Change of Control in Owners" shall have the meaning set forth in Clause 16.1
(b).

      "Compensation Committee" shall mean that committee which sets the
compensation of the Facilities' personnel and comprises the CEO or his designee, vice
president of finance or CFO, and the vice president of human resources.

       "Controlling Shareholders" shall mean a shareholder who controls at least 51%
of the shares of stock of a corporation and who is able to elect a majority of the
members of the board of directors of such corporation.

      "COO" shall mean the chief operating officer designated by GGAM in
accordance with this Agreement.

       "Disclosure Letter" shall mean the disclosure Jetter dated 7 September 2011
referred to in Clause 10.

       "EBITDA" shall mean, for the period in question (which, with respect to any
Fiscal Year, shall not include any negative or positive EBITDA for any prior Fiscal
Year), Net Income for such period PLUS (without duplication and to the extent and
only to the extent actually deducted in the calculation of Net Income): (i) interest
expense, net of interest income, (ii) income tax expense, (iii) depreciation and

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amortization, (iv) non-cash impairment tosses, (v) extraordinary, non-recurring tosses
or expenses as determined by Owners or on the sate of assets for such period, (vi)
tosses attributable to the early extinguishment of indebtedness, (vii) tosses attributable
to hedging obligations or other derivative instruments, (viii) realized and unrealized
foreign exchange tosses (ix) other comprehensive losses and (x) pre-opening costs
and expenses actually incurred and set forth in the applicable Annual Budget (or
otherwise approved by Owners); MINUS (without duplication and to the extent and
only to the extent actually included in the calculation of Net Income), (A) non-
operating, non-recurring gains on the sale of capital assets for such period, (B) gains
attributable to the early extinguishment of indebtedness, (C) gains attributable to
hedging obligations or other derivative instruments, (D) realized and unrealized foreign
exchange gains, (E) other comprehensive income, and {F) pre-opening revenues and
income, in each case, determined on a consolidated basis for Owners in accordance
with the Applicable Accounting Standards.

       "Event of Default by GGAM" shall have the meaning set forth in Clause 15.1.

       "Event of Default by Owners" shall have the meaning set forth in Clause 15.2.

       "Event of Force Majeure" shall have the meaning set forth in Clause 17 .1.

      "Expert" shall mean a senior partner from a leading internationally-recognized
accounting firm with at least ten (10) years experience in gaming transactions.

       "Expert Designee" shall have the meaning set forth in Annex I.

       "Expert Dispute" shall have the meaning set forth in Annex I.

       "Extension Notice" shall have the meaning set forth in Clause 1.3.

      "FF&E" shall mean furniture, furnishings, fixtures and equipment {including
Gaming Equipment), interior and exterior signs, as well as other non-real property
improvements and personal property used to operate the Facilities.

         "Facilities" shall mean the world class integrated casino hotel entertainment
facilities as more specifically set forth in Annex E and Annex F at PAGCOR's Bagong
Nayong Pilipino Entertainment City Manila located at the Manila Bay reclamation area
in Paranaque City, Metro Manila, Philippines.

      "Facilities Revenue" shall mean, with respect to any period, all revenues and
income of any kind derived directly or indirectly from the operation of the Facilities and
properly attributable to the period under consideration determined in accordance with
Applicable Accounting Standards.

      "Fiscal Year" shall mean a calendar year starting 1 January and ending 31
December, provided that the first Fiscal Year shall start from the Start Date and end on
31 December of that year.


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       "Foreign VIP EBITDA" shall have the meaning set forth in Clause 4.5 computed
following the Segment EBITDA Computation.

       "Foreign High Roller Tables" shall have that meaning set forth in the Philippine
laws or regulations promulgated by PAGCOR and governing the Facilities, or as the
parties may mutually agree.

       "Foreign Junket Players" shall have that meaning set forth in the Philippine laws
or regulations promulgated by PAGCOR and governing the Facilities, or as the parties
may mutually agree.

       "Foreign VIP Incentive Fees" shall mean the GGAM Fees referred to in Clause
4.5.

        "Gaming Authority" shall mean any governmental or quasi-governmental entity,
subdivision, agency, commission, board, etc. with authority to regulate gaming
activities located any place in the world.

       "Gaming Equipment" shall mean all furniture, furnishings, and equipment
required for the operation of the casino, including: (i) cashier, money sorting and
money counting equipment, surveillance and communication equipment, and security
equipment, including all equipment required pursuant to any Gaming Authority; (ii) slot
machines, ticket-in/ticket-out, server based gaming, video games of chance, table
games, keno equipment, and other equipment relating to gaming activities; and (iii)
office furnishings and equipment for administrative offices dedicated to casino
operations.

       "Gaming Laws" shall mean any applicable law regulating or otherwise
pertaining to casinos, legal gaming, gambling, or the conduct of gaming activities
located any place in the world.

       "GGAM" shall have the meaning set forth in the preamble.

      "GGAM Disclosure Letter" shall mean the disclosure letter referred to in Clause
10.2(E)

       "GGAM Fees" shall mean the fees set forth in Clauses 4.1 through 4.4,
inclusive.

        "Governmental Authority" shall mean any Philippine government, whether
national, provincial, city, municipal, local, or other, any court, department, agency,
board, authority, or instrumentality, whether administrative or regulatory, or other body
relating thereto, or any other body which may exercise similar functions, including
PAGCOR.

       "Graduated Fees" shall mean those fees payable to GGAM pursuant to Clause
4.5.


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      "Guest Data" shall mean any and all guest or customer profiles, contact
information (e.g., addresses, phone numbers, facsimile numbers and email
addresses), histories, preferences, and any other information from guests or
customers of a casino or hotel.

      "Hotel Owner" shall mean Sureste Properties, Inc.

       "Individual• shall mean a natural person, whether acting for himself or herself, or
in a representative capacity.

       "Initial Term" shall have the meaning set forth in Clause 1.2.

       "Involved Affiliates" shall have the meaning set forth in Clause 18.8.

      "Key Personnel" shall mean those personnel designated by an "*" in Annex D.
Key Personnel shall include William P. Weidner, Garry Saunders, and Brad Stone.

       "Local High Roller Tables" shall have that meaning as set forth in the Philippine
laws or regulations promulgated by PAGCOR and governing the Facilities, or as the
parties may mutually agree.

        "Local VIP EBITDA" shall have the meaning set forth in Clause 4.4 computed
following the Segment EBITDA Computation.

       "Management Team" shall have the meaning set forth in Clause 2.4.

     "Money Laundering Laws" shall mean the Anti-Money Laundering Act of 2001
(Republic Act No. 9160), as amended, and its implementing regulations.

      "Net Income" shall have the meaning as defined under Applicable Accounting
Standards.

       "OFAC" shall have the meaning set forth in Clause 10.1 (S).

       "Operating Accounts" shall mean bank accounts, which may include, but are not
limited to, account(s) for the purposes of depositing all funds received in the operation
of the Facilities and paying all Operating Expenses of the Facilities.

       "Operating Expenses" shall mean those non-Capital Expenses that are
generated by maintaining, conducting, and supervising the operation of the Facilities
(whether or not included within such definitions but always excluding the GGAM Fees)
in accordance with the Applicable Accounting Standards.

         "Operating Supplies" shall mean all consumable items used in, or held in
storage for use in (or, if the context so dictates, required in connection with), the
operation of the Facilities including food and beverages, fuel, soap, shampoo,
toiletries, and other guest amenities, cleaning materials, printed materials, matches,
napkins, stationery, and similar items;
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        "Option Agreement" shall mean the option agreement referred to in Clause
18.3.

        "Organizational Chart" shall have the meaning set forth in Clause 2.4.

        "Owner" and "Owners" shall have the meaning set forth in the preamble.

        "PAGCOR" shall have the meaning set forth in the preamble.

      "PAGCOR Lease Agreement" means the contract of lease dated May 7, 2010
executed between Owners and PAGCOR over the 83,084 square meter lot covered by
and part of the mother title Original Certificate of Title No. 289 issued by the Register
of Deeds of Parar'iaque City.

      "PAGCOR License" shall mean the Provisional License awarded by PAGCOR
to the Casino Owner for the Facilities at Entertainment City (or the license that
PAGCOR will issue when the Facilities start commercial operation).

        "Party" and "Parties" shall have the meaning set forth in the preamble.

        "Performance Standards" shall have the meaning set forth in Annex B.

        "Person" shall mean an Individual or Entity (as the case may be).

      "Phase I Facilities"    shall   mean those portions of the Facilities set forth in
Annex E.

     "Phase 1-A Facilities" shall mean those portions of the Facilities set forth in
Annex F.

      "Phase 1-B Facilities" shall have those portions of the Facilities set forth in
Annex G.

        "Philippine Pesos" shall mean the currency of the Philippines.

        "Philippines" shall mean the Republic of the Philippines.

       "Philippine Anti-Corruption Laws" shall mean Republic Act No. 3019 (otherwise
known as the Anti-Graft and Corrupt Practices Act), and similar laws against corrupt
practices of public officers.                          ·

        "Pre-Opening Services" shall have the meaning set forth in Annex A.

        "Project Agreements" shall have the meaning set forth in Clause 2.6(b).

       "Project Cost" shall mean the Project Cost prepared by Davis Langdon Seah
attached to the Disclosure Letter.



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     "Projected Base Fee EBITDA" shall have the meaning set forth in item 1 of
Annex B.

      "Projected EBITDA" shall have the meaning set forth in item 1 of Annex B.

      "Proposed Annual Budget" shall have the meaning set forth in Clause 2.1 0.

      "Purchase Option" shall mean the option set forth in Clause 18.3.

      "Receiving Party" shall have the meaning set forth in Clause 14.2.

      "Reserved Matters" shall mean those matters set forth in Annex C.

       "ROPCPI" shall mean the Consumer Price Index for all Income Households and
Headline Inflation Rates of all Items for the Philippines which uses 2000 as its base
year (2000=1 00) published by the National Statistical Coordination Board.

      "Sanctions Laws and Regulations" shall have the meaning set forth in Clause
10.1(S).

       "Segment EBITDA Computation" shall mean, for purposes of calculating
EBITDA for any purposes other than for the Facilities in their entirety (e.g., Local VIP
EBITDA, Foreign VIP EBITDA, and Base Fee EBITDA), all Facilities Revenue shall be
segregated amongst each and every category of EBITDA and, further, Operating
Expenses shall be allocated between each such category in a manner which takes into
account the actual amount of variable Operating Expenses incurred in generating each
such category of EBITDA and a distribution of all fixed expenses to each such
category of EBITDA which is fair and reasonable when calculating the relative
percentages of EBITDA as a portion of all EBITDA from Facilities, the level of general
and administrative support given to each category of EBITDA, and the associated
costs thereof, normal and customary rules and procedures for managerial accounting
under Applicable Accounting Standards, etc., all as calculated by GGAM acting
through the Management Team for each period in question based upon protocols
established by GGAM and approved by Owners .

      "Services" shall mean those services of GGAM set forth in Annex A.

      "Signing Authority Matrix" shall mean the signing authority matrix prepared by
the Parties and approved by the Owners.

       "Standard of Care" shall have the meaning set forth in Clause 2.5.

       "Start Date" shall have the meaning set forth in Clause 1.2.

       "Subsequent Term" shall have the meaning set forth in Clause 1.3.

       "Term" shall mean the Initial Term or any then applicable Subsequent Term of
this Agreement.

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      "Termination Fee" shall mean, in the event this Agreement is terminated in
accordance with subclauses (B), (C) or (D) of Clause 16.1 (b), an amour1t equivalent to:

                         Period                                        Calculation

      Commencing on the Effective Date through the
      date 12 months after the Start Date {the "First   $ 11.000,000
      Operating Year")

      Commencing on the day following the               4 x the sum of the GGAM Fees due and
      expiration of the First Operating Year through    ow1ng for the immediately prior 12 months
      the date 24 months al!er the Start Date (the
      "Second Operating Year")

      Commencing on the date following the              3 x the sum of the GGAM Fees due and
      expiration of the Second Operating Year           owing for the immediately prior 12 months
      through the date 36 months after the Start
      Date (the ''Third Operating Year")

      Commencing on the date following expiration       2.5 x the sum of the GGAM Fees due and
      of the Third Operating Year through the date      owing for the immediately prior 12 months
      48 months after the Start Date (the "Fourth
      Operating Year")

      At any time after the expiration of the Fourth    2 x the sum of the GGAM Fees due and
      Operating Year                                    owing for the immediately prior 12 months




       "Unsuitable Person" shall mean any individual or entity which (i) is known ir1 the
community as being of bad moral character; (ii) has been convicted of a felony in any
state or federal court (including courts in the U.S.A.); (iii) would cause the denial,
threatened denial, revocation, threatened revocation, suspension, threatened
suspension or non-renewal of any gaming license, approval or permit of GGAM; r (iv)
is a SON.




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                                  ANNEX I

                           EXPERT RESOLUTION

  1.1   Any Dispute that requires resolution of the following matters (individually
        or together, an "Expert Dispute") shall be exclusively resolved according to
        the following:

        (a)    the calculation of the EBITDA;

        (b)    a determination under Clause 2.9 of which Party's proposed budget
        element(s) is most likely to optimize financial performance of the Facilities,
        with due consideration given to then current market conditions; and

        (c)    Equitable adjustment under item 5 of Annex B.

  1.2   If any Expert Dispute is brought with a dispute, controversy, or claim
        pursuant to Clause 19.2 of the Agreement, such Expert Dispute shall be
        immediately severed from any arbitration pursuant to Clause 19.2 and
        independently and exclusively resolved in accordance with the procedures
        set forth in this Annex I.

  1.3   If a Party is entitled to and elects to have an Expert designated, it shall
        notify the other Party in writing and the Parties shall attempt to designate a
        mutually acceptable Expert within twenty (20) Business Days of such
        notice. In the event that the Parties are unable to agree upon an Expert
        within such period, each of the Parties shall select an Individual meeting
        the requirements of an Expert (each, an "Expert Designee") within
        two (2) Business Days, and the two (2) Expert Designees shall thereafter
        meet in good faith within five (5) Business Days and select an Expert in
        accordance with the qualifications set forth in this Agreement. If the
        Expert Designees are unable to agree on an Expert with such
        five (5) Business Days, the Parties shall grant the current Expert
        Designees an additional five (5) days to mutually agree upon an Expert.

  1.4   The Expert shall establish, in its sole and absolute discretion, the
        procedure for resolving the dispute, including what evidence to consider,
        whether to allow written submissions, and whether to hold a hearing,
        subject to the following:

        (a)    unless otherwise agreed by the Parties, the Expert shall hold at
        least one (1) proceeding at which the Parties present and respond to
        evidence, which shall take place on a Business Day not later than twenty
        (20) Business Days, nor earlier than ten (10) Business Days, from the
        date notice of the dispute is given or as soon thereafter as the Expert is
        available. Unless otherwise agreed, all proceedings shall be conducted in
        Singapore;
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        (b)    the Expert has the power to demand from either Party whatever
        information in that Party's possession the Expert deems necessary to
        resolve the dispute;

        (c)    except as specifically requested by a Expert, no Party may present
        any evidence that was not shared with the other Party before the Expert
        resolution proceeding was initiated;

        (d)   no discovery may be conducted between the Parties;

        (e)   no attorneys may appear on behalf of either Party (although either
        Party may use attorneys for their own consultation or advice);

        (f)    the Expert shall schedule and conduct all proceedings with the
        objective of resolving the dispute as quickly and efficiently as possible;
        and

        (g)   the Parties shall not engage in any communications with an Expert
        except in response to formal requests by an Expert or at proceedings
        scheduled by an Expert.

  1.5   All decisions of the Expert, absent fraud, willful misconduct, or
        demonstrated conflict of interest, are final and binding on the Parties
        (without appeal or review) and are enforceable in any court of competent
        jurisdiction.

  1.6   During the pendency of the Expert resolution proceedings, the Parties
        shall share equally the fees and expenses of the Expert. In rendering its
        decision, the Expert shall designate the Party whose position is
        substantially upheld, who shall recover from the other Party its share of
        the fees and costs so paid. The Expert may determine that neither Party's
        position was substantially upheld. The Parties shall otherwise bear their
        own costs and expenses of the Expert resolution proceedings, including
        each Party's respective attorneys' fees and costs.




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                          Global Gaming Asset Management, L.P.
                                  3575 West Post Road
                                   Las Vegas, NV 89118


Strictlv Pet·sonal and Confidential

September.....§__. 2011

Bloomberrv Resm1s and Hotels. Inc.
Unit 601, 6•"
            Floor Ecoplaza Building
Pasong Tamo Extension. Makati City
Philippines

Sureste Properties. Inc.
261h Floor, 139 Corporate Center Building
Valero Street, Salcedo Vi II age
Makati City, Philippines

Dear Mr. Razon:

       Reference is made to that certain Management Service Agreement dated as of September
_s_. 20 ll among Bloom berry Resorts and Hotels. Inc .. Sureste Properties, Inc. and Global
Gaming Philippines Management. LLC (the ''MSA"'). Pursuant to Section 10.2(e) of the MSA,
William P. \\Ieidner is the Chief Executive Officer of Global Gaming Philippines. LLC and
Global Gaming Asset Management. LP. is the sole equity holder of Global Gaming Philippines.
LLC. Pursuant to Section I0.2(g) ofthe MSA attached hereto as Exhibit A is a chart of the
corporate structure of Global Gaming Philippines, LLC.


Sincerely,

GLOBAL GAMNG ASSET M~Eiv!ENT. L.P.

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Bv: V:../-,
 '                              .
Name: William Weidner
Title: President
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EXHIBIT A
                                                                                    Cantor
                                                                            Fitzgerald, LP




                                                                        100%




                                                                   Cantor GGAM               99 75%
                                                                    Holdings, LLC


                                                                            0.25%




        Gaming Equity                   Gaming Asset
     ( Group Series LLC                Management, LLC
     1                                                                        Cantor GGAM.
        (equity interest)              (management fee)
                                                                                   L.P.
       (WPW, Manager)                   (WPW, Manager)




                                                          50%                  5(}'%




                                                               Global Garnmg
                                                            ;Asset Managem<"JJ'\1.
                                                            . Hold1ngs, LLC·



                                                                                                 50%
                             50~'.;-




                                                                  G~bal Gar.ung
                                                                Asset Managemenl_
                                                                       LP




                                                                 Global Gam1ng
                                                                Philippines, LLC
                                                                      {DE)




                                                                Phliippines Branch
                                                                       Office

 *Certain other parties hold non-economic interests
